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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.: 1:19-cv-24138-DPG


    YUANXIAO FENG, an individual; KIU
    CHUN SAXON HUI, an individual; LAI
    KING HUI, an individual; JING KUANG, an
    individual; CHUEN PING NG, an individual;
    MINYANG TIAN, an individual; HONGSEN
    ZHANG, an individual; and YAN ZHANG, an
    individual,
            Plaintiffs.                                    JURY DEMAND
    v.
    JOSEPH WALSH, an individual; JOSEPH
    WALSH, JR., an individual; ANTHONY
    REITZ, an individual;
    LESLIE ROBERT EVANS, an individual;
    GREYSTONE EB-5 LLLP, a Florida limited
    liability limited partnership; SOUTH
    ATLANTIC REGIONAL CENTER, LLC, a
    Florida limited liability company; USREDA,
    LLC, a Delaware limited liability company;
    USREDA HOLDINGS LLC, a Delaware
    limited liability company; USREDA
    MANAGEMENT, LLC, a Delaware limited
    liability company; DANIEL VOSOTAS, an
    individual; JAMES VOSOTAS, an individual;
    GREYSTONE HOTEL MIAMI LLC, a
    Florida limited liability company;
    UNITED EB5, LLC, a Florida limited liability
    company; SANTA BARBARA 230, LLC, a


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    Foreign limited liability company;
    GREYSTONE TERRA FIRMA, LLC, a
    Foreign limited liability company;
    VOS HOLDINGS I, LLC, a Florida limited
    liability company;
    VOS CRE I, LLC, a Florida limited liability
    company;
    GREYSTONE HOSPITALITY, LLC, a
    Florida limited liability company;
    GREYSTONE HOLDCO, LLC, a Foreign
    Florida limited liability company;
    GREYSTONE MANAGING MEMBER,
    LLC, a Florida limited liability company;
    GREYSTONE MASTER TENANT, LLC, a
    Foreign limited liability company;
    GREYSTONE TENANT, LLC, a Foreign
    Florida limited liability company;
    GREYSTONE OPTION HOLDER, LLC, a
    Foreign limited liability company; WWB
    TRUST LLC, a Florida limited liability
    company; TRANS INNS ASSOCIATES INC.,
    a Foreign profit corporation;
    VOS HOSPITALITY, LLC, a Florida limited
    liability company;
    BBM 3, LLC, an Indiana limited liability
    company;
    BBM 3 II, LLC an Indiana limited liability
    company;
    BRANDON MUHL, an individual;
    PNC BANK, N.A., a National Association;
    and RUBEN RAMIREZ, an individual

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            Defendants.
    _____________________________________/

                            PLAINTIFFS’ FIRST AMENDED COMPLAINT

           Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING HUI, JING

   KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN ZHANG

   (collectively, hereinafter “Plaintiffs”), hereby sue Defendants, JOSEPH WALSH, JOSEPH

   WALSH, JR., ANTHONY REITZ, LESLIE ROBERT EVANS, GREYSTONE EB-5 LLLP,

   SOUTH ATLANTIC REGIONAL CENTER, LLC, USREDA, LLC, USREDA HOLDINGS LLC,

   USREDA MANAGEMENT, LLC, DANIEL VOSOTAS, JAMES VOSOTAS, GREYSTONE

   HOTEL MIAMI LLC, UNITED EB5, LLC, SANTA BARBARA 230, LLC, GREYSTONE

   TERRA FIRMA, LLC, VOS HOLDINGS I, LLC, VOS CRE I, LLC, GREYSTONE

   HOSPITALITY, LLC, GREYSTONE HOLDCO, LLC, GREYSTONE MANAGING MEMBER,

   LLC, GREYSTONE MASTER TENANT, LLC, GREYSTONE TENANT, LLC, GREYSTONE

   OPTION HOLDER, LLC, WWB TRUST LLC, TRANS INNS ASSOCIATES INC., VOS

   HOSPITALITY, LLC, BBM 3, LLC, BBM 3 II, LLC, BRANDON MUHL, PNC BANK, N.A.,

   and RUBEN RAMIREZ (collectively, hereinafter “Defendants”), seeking Damages and Injunctive

   Relief, and in support thereof state as follows:

                                               I.       INTRODUCTION
           1.        This case stems from Defendants’ fraudulent scheme to induce Plaintiffs into

   investing in United States real estate to obtain EB-5 immigrant visas.

           2.       More specifically, since 2010, Defendant, Joseph J. Walsh (hereinafter “Walsh”),

   his entities, and co-conspirators 1 have defrauded investors participating in the Immigrant Investor


   1
     The term “co-conspirators” includes, but is not limited to Walsh, Joseph Walsh Jr., the South Atlantic Regional
   Center, WWB Trust, USREDA, LLC, USREDA, Holdings, Daniel Vosotas, James Vosotas, the Vosotas Entities (as

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   Program (hereinafter “EB-5 Program”) administered by the United States Citizen and Immigration

   Services (hereinafter “USCIS”). The EB-5 Program, also known as the immigrant investor visa,

   allows foreign nationals to apply for permanent residency in the United States after investing in a

   US business that, among other things, must create a certain number of jobs.

           3.      Plaintiffs are foreign individuals who were seeking lawful United states citizenship

   or residency.

           4.      Unfortunately, Plaintiffs fell victim to the latest series of fraudulent conspiracies

   perpetuated by Defendant Walsh’s fraudulent EB-5 projects.

           5.      Here, the platform for the fraud was an EB-5 investment project advertised as the

   Greystone Hotel Project or Greystone EB-5 LLLP (hereinafter “Greystone EB-5 Partnership”).

           6.      From 2014 to 2016, Defendant, Greystone EB-5 Partnership offered and sold

   limited partnership “units” totaling up to Twenty-Two Million Dollars ($22,000,000.00) to at least

   eight (8) foreign investors through the EB-5 Program. The offering materials provided to investors

   represented that the Greystone EB-5 Partnership would loan investor funds to Greystone Hotel

   Miami, LLC (hereinafter “Greystone Hotel Miami”) to develop, renovate, and operate two (2)

   adjacent properties located at 1920 Collins Avenue and 230 20th Street, Miami Beach, Florida

   (hereinafter    “Greystone    Properties”).    Instead,   Defendant, Walsh        and    co-conspirators

   misappropriated the investor funds.

           7.      Defendant, Walsh and his co-conspirators also made false and materially

   misleading statements regarding: (1) the use of investor funds; (2) the use of an escrow account to

   hold investor funds prior to disbursement to Greystone Hotel Miami; (3) the existence of

   conditions precedent to the advancement of loan disbursements to Greystone Hotel Miami; (4) the



   fully defined in paragraph 74), Branden Muhl, BBM 3, LLC and BBM 3 II, LLC Anthony Reitz and PNC Bank.

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   guaranteed return of investors’ funds if Plaintiffs’ I-526 Petitions 2 were denied; (5) Defendant,

   Walsh and his co-conspirators’ expertise and experience; (6) the preparation and periodic

   disclosure to investors of financial reports; (7) Greystone Hotel Miami’s repayment of the loan;

   (8) Greystone Hotel Miami’s purported ownership of and investment in the Greystone Properties;

   (9) advertisements of Greystone Hotel Miami development prior to the commencement of the

   Greystone EB-5 Partnership offering; and (10) the existence of a mortgage, or other security, the

   investors held through the Greystone EB-5 Partnership against the Greystone Properties to secure

   their loan and investment.

              8.       To date, none of the Plaintiffs’ investments have been accounted for, let alone

   returned, and all of the Plaintiffs’ EB-5 Visa applications have been denied by USCIS.

              9.       Defendant, Walsh and his co-conspirators developed an elaborate scheme to

   wrongfully obtain investments from the Plaintiffs for illegitimate purposes. Defendants conspired

   to fraudulently induce each Plaintiff to invest Five Hundred Thousand Dollars ($500,000.00), plus

   an additional Forty-Five Thousand Dollar ($45,000.00) “administrative fee,” and an additional

   Fifteen Thousand Dollar ($15,000.00) “legal services fee” into the Greystone EB-5 project, the

   EB-5 Partnership, and the Greystone Properties development (hereinafter “Greystone Project”).

              10.      Defendants, Walsh and James Vosotas (hereinafter “J. Vosotas”) are managers of

   the Greystone EB-5 Partnership. Greystone EB-5 Partnership’s two (2) general partners

   (hereinafter “General Partners”) are South Atlantic Regional Center (hereinafter “SARC”), an

   entity managed and controlled by Walsh, and United EB5, LLC, (hereinafter “United EB5”) an

   entity managed and controlled by J. Vosotas.




   2
       The terms “I-526 Petition(s)” and “I-526 application(s)” refers to Immigrant Petition(s) by Alien Entrepreneur.

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          11.     Plaintiffs’ funds were to be held in an escrow account and then loaned to Greystone

   Hotel Miami. Additionally, Plaintiffs funds were to only be used to renovate the Greystone

   Properties in accordance with the guidelines of the EB-5 Program.

          12.     The Greystone Project was also required to create ten (10) qualifying, full-time jobs

   per investor and Plaintiffs’ investments were supposed to be secured by a lien or mortgage on the

   Greystone Properties.

          13.     Not only did Defendants represent that Plaintiffs’ funds would be used in

   compliance with EB-5 regulations, but Defendants prepared and submitted falsified documents to

   USCIS stating this requirement would be fulfilled by renovating and operating the Greystone

   Properties.

          14.     Plaintiffs’ funds were not held in an escrow account, instead Defendants placed

   Plaintiffs’ funds in a checking account and name the account “escrow.” Defendants conspired to

   create a fictitious escrow company, WWB Trust, LLC (hereinafter “WWB Trust”). However,

   instead of being a neutral third-party trust to hold Plaintiffs’ funds as represented, WWB Trust was

   in fact controlled secretly by Defendant Walsh as part of the conspiracy, Defendant WWB Trust

   was another cog in the wheel of Defendants’ conspiracy to facilitate Defendants fraud and theft.

          15.     Defendants, Walsh, PNC Bank (hereinafter “PNC”), and the other Defendants

   conspired to misname and place Plaintiffs’ funds in Defendant, Walsh’s business checking account

   to mislead and deceive Plaintiffs. Upon receiving Plaintiffs’ funds in the fake escrow account,

   Defendants Walsh and co-conspirators transferred Plaintiffs’ funds to their personal accounts and

   dissolved Defendant WWB Trust.

          16.     Contrary to all written and oral agreements, and representations, Defendant

   Greystone Hotel Miami did not hold any legal title to the Greystone Properties.


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          17.     Defendants, Walsh, J. Vosotas and the co-conspirators conspired to create fake

   loans, business plans, and security documents falsely stating that the Greystone Hotel Miami held

   title to the Greystone Properties.

          18.     In fact, the Greystone Hotel Miami holds no assets, let alone the Greystone

   Properties. These fake documents were distributed to Plaintiffs with the sole purpose of inducing

   them into investing/purchasing securities in the project and to create a false assurance that

   Plaintiffs’ investments were secured by valuable real estate.

          19.     Additionally, these fraudulent documents were submitted to USCIS to confuse and

   mislead government officials as to the viability of the EB-5 project. Defendant, Walsh and his co-

   conspirators created shell companies, under the ownership and control of Walsh’s co-conspirators,

   J. Vosotas, Daniel Vosotas (hereinafter “D. Vosotas”), and Branden Muhl (hereinafter “Muhl”) to

   hold actual title to the Greystone Properties and to defraud Plaintiffs and USCIS. After the fraud

   against Plaintiffs had come to fruition, Defendants J. Vosotas, D. Vosotas, and Muhl moved the

   Greystone Properties to new shell entities and trusts in Delaware in an attempt to further conceal

   and misrepresent the truth..

          20.     Defendants, either by participating in the conspiracy, or by owning, controlling, and

   managing the Defendants entities, knew or should have known, Plaintiffs’ funds were

   misappropriated. Defendant, Greystone EB-5 Partnership’s General Partners committed fraud by

   providing false mortgage and loan agreements to Plaintiffs, their immigration attorneys, and

   USCIS.

          21.     None of Plaintiffs’ funds were used to develop the Greystone Properties, no EB-5

   approved jobs were created, and as a result, Plaintiffs did not qualify for EB-5 visas. Accordingly,




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   Plaintiffs were defrauded and are now unable to immigrate to the United States, in addition to

   losing a large investment.

          22.     Moreover, given the nature of the EB-5 program, Defendants’ misrepresentations

   to Plaintiffs continue to cause Plaintiffs to face a delay of ten (10) or more years, should they seek

   to reapply though the EB-5 program in a new, legitimate project.

                                                II.     PARTIES
          23.     Plaintiffs are foreign nationals that were victims of Defendants’ conspiracies and

   were fraudulently induced to invest in Defendants’ purported EB-5 Projects.

          24.     Defendant, Walsh is an individual, who upon information and belief, resides in

   Palm Beach County, Florida, and is otherwise sui juris. At all times relevant hereto, Defendant

   Walsh was the manager of SARC and United States Regional Economic Development Authority

   LLC d/b/a/ EB5 Petition (hereinafter “USREDA”), the managing member of USREDA Holdings

   LLC, the managing member of WWB Trust, controlling each of these entities and Greystone EB5

   Partnership.

          25.     Defendant, Joseph Walsh, Jr. (hereinafter “Walsh Jr.”) is an individual who upon

   information and belief, resides in Palm Beach County, Florida, and is otherwise sui juris.

   Defendant, Walsh Jr. is the son of Defendant, Walsh. Defendant, Walsh Jr. was the manager of

   SARC, and USREDA. Defendant, Joseph Walsh Jr. and co-conspirators made material, false

   representations to Plaintiffs that induced them to invest the in the Greystone EB-5 Partnership.

          26.     Defendant, D. Vosotas is an individual who upon information and belief, resides in

   Palm Beach County, Florida, and is otherwise sui juris. Defendant, D. Vosotas is the father of

   Defendant, J. Vosotas. Defendant, D. Vosotas is the owner and manager of VOS Hospitality who

   partnered with Defendant, Walsh in the Greystone EB-5 Partnership Offering. Defendant, D.

   Vosotas and co-conspirators made material, false representations to Plaintiffs that induced them to
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   invest in the Greystone Project. Defendant, D. Vosotas is an owner and manager of multiple

   companies that conspired with Defendant, Walsh to defraud the Plaintiffs.

          27.     Defendant, J. Vosotas is an individual who upon information and belief, resides in

   Palm Beach County, Florida, and is otherwise sui juris. Defendant, J. Vosotas is the son of

   Defendant, D. Vosotas. Defendant, J. Vosotas is the owner and manager of multiple Vosotas

   Entities who partnered and conspired with Defendant, Walsh in the Greystone EB-5 Partnership

   Offering to defraud the Plaintiffs. Defendant, J. Vosotas and co-conspirators made material, false

   representations to Plaintiffs that induced them to invest in the Greystone Project.

          28.     Defendant, Muhl is an individual who resides in Dallas, Texas, but does substantial

   business in Palm Beach County, Florida. Defendant, Muhl is the owner and manager of multiple

   Vosotas Entities who partnered and conspired with Defendant, Walsh in the Greystone EB-5

   Partnership Offering to defraud the Plaintiffs. Defendant, Muhl and co-conspirators made material,

   false representations to Plaintiffs that induced them to invest in the Greystone Project.

          29.     Defendant, Anthony Reitz (hereinafter “Reitz”) is an individual, who upon

   information and belief, resides in Palm Beach County, Florida, and is otherwise sui juris.

   Defendant, Reitz is the Chief Financial Officer of WWB Trust, LLC. Defendant, Reitz is also a

   former employee of PNC Bank and assisted Defendant, Walsh in creating a fake escrow account.

   In his capacity as Chief Financial Officer of WWB Trust, LLC, Defendant, Reitz signed the escrow

   agreements.

          30.     Defendant, Ruben Ramirez (hereinafter “Ramirez”), an individual, who upon

   information and belief resides in Palm Beach County, Florida, and is otherwise sui juris.

   Defendant, Ramirez is a business banker and is employed by PNC as a Vice-President. At all times




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   relevant hereto, Ramirez worked at PNC branch or branches in Boynton Beach and Palm Beach

   County, Florida.

           31.     Defendant, Leslie Robert Evans (hereinafter “Evans”) is an individual, who upon

   information and belief, resides in Palm Beach County, Florida, and is otherwise sui juris.

   Defendant, Evans is an attorney based in Palm Beach County, Florida, and acted as General

   Counsel for Defendants, Walsh and Walsh’s various entities. Defendant, Evans assisted Defendant,

   Walsh in creating fraudulent documents, agreements, and transfers to defraud Plaintiffs.

   Defendant, Evans received investor funds, which were fraudulently obtained by Defendant, Walsh

   and his entities. According to a criminal complaint filed in the United States District of Connecticut

   (Criminal No.: 18-CR-48-SRU). Defendant, Evans used a trust account to assist Defendant, Walsh

   in laundering money stolen from EB-5 investors.

           32.     Defendant, Greystone EB-5 Partnership is a Florida limited liability limited

   partnership with its principal place of business in Miami-Dade County, Florida. Defendant,

   Greystone EB-5 Partnership has offices throughout the State of Florida, including in Miami-Dade

   County. The General Partners of Defendant, Greystone EB-5 Partnership are Defendants, Walsh

   and J. Vosotas through Defendants, SARC and United EB5, LLC 3. Plaintiffs were fraudulently

   induced to each invest Five Hundred Thousand Dollars ($500,000.00) into Greystone EB-5

   Partnership in exchange for an interest or “Unit” in the Greystone Limited Partnership, the false

   promise of United States EB-5 visas, the false promise of a security in the form of collateral against

   the Greystone Properties, and the ultimate return of their investment, with interest.

           33.     Defendant, SARC is a Florida limited liability company, located in Palm Beach

   County, Florida. Defendant, SARC is a USCIS designated Regional Center. Defendant, Walsh was

   3
     As explained more fully in paragraphs 28 and 34, Defendant, Walsh is the manager of SARC and Defendant, J.
   Vosotas is the manager of United EB-5, LLC.

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   the manager of SARC from its inception in June 2010 to at least April 2016. Thereafter, Defendant,

   USREDA Holdings LLC became the manager of Defendant, SARC. Defendant, SARC is a

   General Partner of the Greystone Partnership.

          34.     Defendant, USREDA Holdings, LLC (hereinafter “USREDA Holdings”) is a

   Delaware limited liability company, duly registered to do business in the State of Florida, with its

   principal place of business in Palm Beach County, Florida. Defendant, USREDA Holdings is

   owned and directed by Defendant, Walsh. Defendant, Walsh transferred his ownership of

   Defendant, USREDA to Defendant, USREDA Holdings to avoid criminal and civil liability.

   Defendant, USREDA Holdings was, and is, engaged in substantial and not isolated activities in

   the State of Florida sufficient to subject it to the general personal jurisdiction of this Court under

   Fla. Stat. § 48.193 and meets the continuous and systematic contact requirements for jurisdiction.

          35.     Defendant, USREDA, is a Delaware limited liability company with its principal

   place of business in Palm Beach County, Florida. Defendant, USREDA held itself out as a law

   firm to provide immigration services for Plaintiffs EB-5 Visa applications. Defendant, USREDA

   guaranteed the approval of any I-526 Petition it completed and the return of all service fees in the

   event of denial. Defendant, USREDA made material, false representations to the Plaintiffs that

   induced them to provide their investments. Defendant, USREDA was, and is, engaged in

   substantial and not isolated activity in the State of Florida sufficient to subject it to the general

   personal jurisdiction of this Court under Fla. Stat. § 48.193 and meets the continuous and

   systematic contact requirements for jurisdiction.

          36.     Defendant, USREDA Management, LLC (hereinafter “USREDA Management”) is

   a Delaware limited liability company, duly registered to do business in the State of Florida, with

   its principal place of business in Palm Beach County, Florida. Defendant, USREDA Management


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   is owned and directed by Defendant, Walsh. Defendant, Walsh transferred his ownership of

   Defendant, USREDA to Defendant, USREDA Management to avoid criminal and civil liability.

   USREDA Management was, and is, engaged in substantial and not isolated activity in the State of

   Florida sufficient to subject it to the general personal jurisdiction of this Court under Fla. Stat. §

   48.193 and meets the continuous and systematic contact requirements for jurisdiction.

          37.     Defendant, Greystone Hotel Miami is a Florida limited liability company with its

   principal place of business in Miami-Dade County, Florida. Defendant, J. Vosotas managed and

   controlled Defendant, Greystone Hotel Miami. Defendants fraudulently represented to Plaintiffs

   and USCIS that Greystone Hotel Miami held title to two (2) parcels of real estate (i.e., the

   Greystone Properties) in Miami-Dade County, Florida. Defendants used this fraud to induce

   Plaintiffs’ into investing in the Greystone EB-5 Limited Partnership and to mislead USCIS that the

   Greystone Project was a potentially valid EB-5 development.

          38.     Defendant, United EB5 is a Florida limited liability company with its principal

   place of business in Miami-Dade County, Florida. Defendant, United EB5 LLC is a General

   Partner of Greystone Partnership. Defendant, J. Vosotas has a controlling interest in Defendant,

   United EB5. Defendant, J. Vosotas though his ownership and control of Defendant, United EB5

   acted as General Manager of Greystone Partnership.

          39.     Defendant, Santa Barbara 230, LLC, (hereinafter “Santa Barbara 230”) is a

   Delaware limited liability company, duly registered to do business in the State of Florida, with its

   principal place of business in Miami-Dade County, Florida. Defendant, Santa Barbara 230 was

   previously a Florida limited liability company, however, in 2017, Defendant, Santa Barbara 230

   was converted to a Delaware limited liability company. Defendant, Santa Barbara 230, LLC holds

   title to one (1) of the two (2) properties, the Santa Barbara Apartments, comprising of the


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   Greystone Properties. Santa Barbara 230 was owned by Defendants, D. Vosotas, J. Vosotas, and

   Muhl through their entities SB 230 Hospitality, LLC and BBM 3 II, not Greystone Hotel Miami,

   as falsely represented.

           40.     . Defendant, Santa Barbara 230 was, and is, engaged in substantial and not isolated

   activity in the State of Florida sufficient to subject it to the general personal jurisdiction of this

   Court under Fla. Stat. § 48.193 and meets the continuous and systematic contact requirements for

   jurisdiction.

           41.     Defendant, Greystone Terra Firma, LLC (hereinafter “Greystone Terra Firma”) is a

   Delaware limited liability company, duly registered to do business in the State of Florida, with its

   principal place of business in Miami-Dade County, Florida. Defendant, Greystone Terra Firma was

   previously a Florida limited liability company, however, in 2019, Defendant, Greystone Terra

   Firma was converted to a Delaware limited liability company. Defendant, Greystone Terra Firma

   holds title to one (1) property, the Greystone Hotel, of the two (2) properties comprising of the

   Greystone Properties. Defendants, D. Vosotas, J. Vosotas, and Muhl transferred ownership of

   Defendant, Greystone Terra Firma to Greystone Delaware Statutory Trust in anticipation of legal

   action and to avoid criminal and civil liability. Defendant, Greystone Terra Firma was, and is,

   engaged in substantial and not isolated activities in the State of Florida sufficient to subject it to

   the general personal jurisdiction of this Court under Fla. Stat. § 48.193 and meets the continuous

   and systematic contact requirements for jurisdiction.

           42.     Defendant, VOS Holdings I, LLC (hereinafter “VOS Holdings I”) is a Florida

   limited liability company previously located in Fort Lauderdale, Florida, and currently lists its

   principal place of business in Bloomfield Hills, Michigan. From its inception to present date,

   Defendants, D. Vosotas and J. Vosotas were the managers of VOS Holdings I. Defendant, VOS


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   Holdings I holds an interest in the Greystone Properties. Defendants, J. Vosotas and D. Vosotas

   fraudulently represented that Greystone Hotel Maimi was the sole owner of the Greystone

   Properties to induce Plaintiffs to invest in the project.

           43.       Defendant, VOS CRE I, LLC (hereinafter “VOS CRE I”) is a Florida limited

   liability company previously located in Fort Lauderdale, Florida, and currently lists its principal

   place of business in Bloomfield Hills, Michigan. From its inception to present date, Defendants,

   D. Vosotas and J. Vosotas are the managers of Defendant, VOS CRE I. Defendant, VOS CRE I

   holds an interest in the Greystone Properties. Defendants, J. Vosotas and D. Vosotas fraudulently

   represented Greystone Hotel Miami as the sole owner of the Greystone Properties to induce

   Plaintiffs to invest in the project.

           44.       Defendant, Greystone Hospitality, LLC (hereinafter “Greystone Hospitality”) is a

   Florida limited liability company previously located in Fort Lauderdale, Florida, and currently lists

   its principal place of business in Bloomfield Hills, Michigan. Defendant, D. Vosotas is the manager

   of Defendant, Greystone Hospitality. Defendant, Greystone Hospitality holds an interest in the

   Greystone Properties. Defendants, J. Vosotas and D. Vosotas fraudulently represented Defendant,

   Greystone Hotel Miami as the sole owner of the Greystone Properties to induce Plaintiffs to invest

   in the project.

           45.       Defendant, Greystone Holdco, LLC (hereinafter “Greystone Holdco”) is a

   Delaware limited liability company, duly registered to do business in the State of Florida, with its

   principal place of business in Bloomfield Hills, Michigan. Defendants, J. Vosotas and Branden

   Muhl are the managers of Greystone Holdco. Defendant, Greystone Holdco is an owner of the

   Greystone Properties. Defendants, J. Vosotas and D. Vosotas fraudulently represented Greystone

   Hotel Miami as the owner of the Greystone Properties to induce Plaintiffs to invest in the project.


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   Greystone Holdco was, and is, engaged in substantial and not isolated activity in the State of

   Florida sufficient to subject it to the general personal jurisdiction of this Court under Fla. Stat. §

   48.193 and meets the continuous and systematic contact requirements for jurisdiction.

           46.     Defendant, Greystone Managing Member, LLC (hereinafter “Greystone Managing

   Member”) is a Florida limited liability company previously located in Fort Lauderdale, Florida,

   and currently lists its principal place of business in Bloomfield Hills, Michigan. Defendant, D.

   Vosotas is the manager of Defendant, Greystone Managing Member. Defendant, Greystone

   Managing Member holds an interest in the Greystone Properties. Defendants, J. Vosotas and D.

   Vosotas fraudulently represented Greystone Hotel Maimi as the sole owner of the Greystone

   Properties to induce Plaintiffs to invest in the project.

           47.     Defendant, Greystone Master Tenant, LLC (hereinafter “Greystone Master

   Tenant”) was a Florida limited liability company previously located in Fort Lauderdale, Florida.

   On or around December 2017 Defendant, Greystone Master Tenant was converted to a Delaware

   limited liability company and duly registered to do business in the State of Florida. Defendant,

   Greystone Managing Member is the manager of Defendant, Greystone Master Tenant. Defendant,

   Greystone Master Tenant holds an interest in the Greystone Properties. Defendants, J. Vosotas and

   D. Vosotas fraudulently represented Greystone Hotel Miami as the sole owner of the Greystone

   Properties to induce Plaintiffs to invest in the project. Defendant, Greystone Master Tenant was,

   and is, engaged in substantial and not isolated activity in the State of Florida sufficient to subject

   it to the general personal jurisdiction of this Court under Fla. Stat. § 48.193 and meets the

   continuous and systematic contact requirements for jurisdiction.

           48.     Defendant, Greystone Tenant, LLC (hereinafter “Greystone Tenant”) was a Florida

   limited liability company previously located in Fort Lauderdale, Florida. On or around December


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   2017, Defendant, Greystone Tenant was converted to a Delaware limited liability company and

   duly registered to do business in the State of Florida. Defendants, J. Vosotas and Branden Muhl

   are the managers of Defendant, Greystone Tenant. Defendant, Greystone Tenant holds an interest

   in the Greystone Properties. J. Vosotas and D. Vosotas fraudulently represented Greystone Hotel

   Miami as the sole owner of the Greystone Properties to induce Plaintiffs to invest in the project.

   Defendant, Greystone Tenant was, and is, engaged in substantial and not isolated activities in the

   State of Florida sufficient to subject it to the general personal jurisdiction of this Court under Fla.

   Stat. § 48.193 and meets the continuous and systematic contact requirements for jurisdiction.

          49.     Defendant, Greystone Option Holder, LLC (hereinafter “Greystone Option

   Holder”) was a Florida limited liability company previously located in Fort Lauderdale, Florida.

   On or around December 2017, Defendant, Greystone Option Holder was converted to a Delaware

   limited liability company and duly registered to do business in the State of Florida. Defendants, J.

   Vosotas and Branden Muhl are the managers of Greystone Option Holder. Greystone Option

   Holder holds an interest in the Greystone Properties. J. Vosotas and D. Vosotas fraudulently

   represented Greystone Hotel Miami as the sole owner of the Greystone Properties to induce

   Plaintiffs to invest in the project. Defendant, Greystone Option Holder was, and is, engaged in

   substantial and not isolated activities in the State of Florida sufficient to subject it to the general

   personal jurisdiction of this Court under Fla. Stat. § 48.193 and meets the continuous and

   systematic contact requirements for jurisdiction.

          50.     Defendant, WWB Trust is a Florida limited liability company with its principle

   place of business in Palm Beach County, Florida. Defendant, Walsh, through his entity, USREDA

   Holdings, manages and controls WWB Trust. WWB Trust was dissolved on or about April 28,




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   2017. WWB Trust was the Escrow Agent overseeing Plaintiffs’ investment. WWB Trust held itself

   out to be a neutral, third-party Escrow Agent to induce Plaintiffs to invest in the project.

          51.     Defendant, Trans Inns Associates, Inc. (hereinafter “Trans Inns Associates”), is a

   Michigan corporation, duly registered to do business in the State of Florida, with its principle place

   of business in Bloomfield Hills, Michigan. Defendant, D. Vosotas, is the President and Director of

   the company. Defendant Trans Inns Associates advertised itself as the manager and developer of

   the Greystone Properties. Defendant, Trans Inns Associates logo and name appeared on

   advertisements for the Greystone Hotel EB-5 project.

          52.     Defendant, VOS Hospitality, LLC (hereinafter “VOS Hospitality”) is a Florida

   limited liability company with its principle place of business in Bloomfield Hills, Michigan.

   Defendant, J. Vosotas, is the manager of the company. Defendant, VOS Hospitality advertised

   itself as the manager and developer of the Greystone Properties. Defendant, VOS Hospitality’s

   logo and name appeared on advertisements for the Greystone Hotel EB-5 project.

          53.     Defendant, BBM 3 LLC, (hereinafter “BBM 3”) is a Delaware limited liability

   company. Defendant, Muhl, is the manager and member of the corporation. Defendant, BBM 3

   holds an interest in the Greystone Properties. Defendants, J. Vosotas, D. Vosotas and Muhl

   fraudulently represented Greystone Hotel Miami as the sole owner of the Greystone Properties to

   induce Plaintiffs to invest in the project. Additionally, Defendant, BBM 3 is listed as a sponsor in

   the Loan Agreement.

          54.     Defendant, BBM 3 II, LLC (hereinafter “BBM 3 II”), is a Delaware limited liability

   company. Defendant, Muhl, is the manager and member of the corporation. Defendant, BBM 3 II

   is listed as a sponsor in the Loan Agreement.




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          55.     Defendant, Greystone Hotel Developer, LLC (hereinafter “Greystone Hotel

   Developer”) is a Florida limited liability company with its principle place of business in Fort

   Lauderdale, Florida. Defendants J. Vosotas and Muhl are managers of the company.

          56.     Defendant, Greystone Managing Member is a Florida limited liability company

   with its principle place of business in Bloomfield Hills, Michigan. Defendants, J. Vosoas and Muhl,

   are managers of the company.

          57.     Defendant, PNC is a National Association with its headquarters and principal place

   of business in Pittsburgh, Pennsylvania and conducts business throughout the State of Florida.

   Among other things, Defendant, PNC is engaged in the business of providing retail banking

   services to millions of customers, including customers in the State of Florida. Defendant, PNC is

   subject to Personal Jurisdiction in Florida because it operates, conducts, engages in, carries on

   business or a business venture in Florida and/or committed tortious acts within Florida and/or

   engaged in substantial activity within Florida. The Fake Escrow Account and Business Checking

   account at issue herein were opened in Boynton Beach, Florida. PNC is subject to the personal

   jurisdiction of this Court pursuant to, inter alia, Section 48.193 of the Florida Statues because it is

   a foreign corporation actually conducting business in the State of Florida. Additionally, the causes

   of actions alleged herein accrued in the State of Florida.

                                    III.    JURISDICTION AND VENUE
          58.     Venue is proper in this forum pursuant to 28 U.S.C. § 1391, 15 U.S.C. §78aa, and

   18 U.S.C. §1965 because a substantial part of the acts, transactions, and events giving rise to the

   claims occurred, and a substantial part of property that is the subject of the action is situated, in

   Miami-Dade County, Florida.

          59.     This Court has subject matter jurisdiction over this action under the 28 U.S.C.

   §1331 and Section 27 of the Securities Exchange Act, 15 U.S.C. §78, 18 U.S.C. § 1964and the
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   principles of ancillary or supplemental jurisdiction under Title 28, United States Code, Section

   1367.

              60.       This Court has personal jurisdiction over Defendants because they, themselves or

   through operation and control of certain entities, operated, conducted, engaged in and carried on a

   fraudulent business and scheme in Miami-Dade County, Florida.

              61.      Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. § 1391,

   15 U.S.C. §78aa, and 18 U.S.C. § 1965 because the Defendants’ wrongful acts described herein

   occurred in Miami-Dade County, Florida, and the property that is the subject of this action is

   located in Miami-Dade County, Florida. Additionally, the Defendants are residents of, and/or

   transact business in, Miami-Dade County, Florida.

              62.      Plaintiffs have retained the undersigned counsel to represent them in this action and

   have agreed and are obligated to pay a reasonable fee for their services.

                                         IV.     GENERAL ALLEGATIONS
          A. THE EB-5 VISA PROGRAM

              63.      In 1990, Congress created the EB-5 Program with the stated purpose of creating

   economic growth in the United States. The EB-5 program provides a prospective immigrant

   investor an opportunity to become a permanent resident.

              64.      To qualify for an EB-5 visa, a foreign applicant must invest Five Hundred Thousand

   Dollars ($500,000.00) or One Million Dollars ($1,000,000.00), depending on the type of

   investment, in a commercial enterprise approved by USCIS. 4 Once the foreign applicant has

   invested, he or she may apply for a conditional green card, which is good for two (2) years. If the

   investment creates or preserves at least ten (10) jobs during those two (2) years, the foreign



   4
       This increased in 2019.

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   applicant may apply to have the conditions removed from his or her green card. The applicant can

   then live and work in the United States permanently.

             65.    A certain number of EB-5 visas are set aside for prospective immigrants who invest

   through a Regional Center, such as SARC. The benefit of investing through a Regional Center is

   that an investor can consider indirect jobs created from the investment and can rely on the Regional

   Center’s analysis the investment meets USCIS’s requirements for an investment of Five Hundred

   Thousand Dollars ($500,000.00), rather than the One Million Dollar ($1,000,000.00) investment.

             66.    Regional Centers must carefully manage the number of potential EB-5 investors

   based on the anticipated number of jobs that will be created in the project. As stated above, to

   qualify for a permanent resident visa, each investor must prove the investment lead to the creation

   of preservation of ten (10) jobs.

      B. DEFENDANT, WALSH CREATES THE SARC, REGIONAL CENTER

             67.    On May 27, 2010, Defendant, Walsh applied for and received USCIS approval for

   the creation of a Regional Center, Defendant, SARC, located in Palm Beach, Florida. A true and

   correct copy of a Correspondence from USCIS demonstrating SARC’s status as a Regional Center

   is attached hereto as Exhibit 1.

             68.    Since 2010, Defendant, Walsh has promoted several EB-5 projects, including, but

   not limited to, the Royal Palm Town Center, Palm House Hotel, Greystone Hotel and several

   others.

             69.    One of Defendant, SARC’s projects is the Palm House Hotel project, is currently

   the subject of civil fraud complaint, Securities and Exchange Commission complaint, and criminal

   investigation.




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      C. THE “WALSH ENTITIES”

              70.     Defendant, Walsh is the direct or indirect sole member of Defendants, SARC,

   WWB Trust, USREDA, and USREDA Holdings (hereinafter collectively, the “Walsh Entities”).

              71.     Defendant, Walsh used these various entities so the Plaintiffs would not have to

   work with any third parties who would have provided Plaintiffs with independent advice that may

   have revealed Defendants’ fraudulent scheme.

         i.         USREDA

              72.     Also, Defendant, Walsh directed Plaintiffs to hire Defendant, USREDA as their

   immigration attorney of record. Defendant, Walsh then, as owner and manager of Defendant,

   USREDA, prevented Plaintiffs from receiving neutral, independent legal advice for Plaintiffs’

   immigration applications and their EB-5 investment, instead ensuring that only biased false

   information was provided, Defendant, USREDA provided “legal services” to Plaintiffs for their

   immigration applications including filing their I-526 Petitions with USCIS.

              73.     Defendant, Walsh Jr. held the title of “Managing Director” of Defendant, USREDA.

   Defendant, Walsh Jr., directed Defendant, USREDA attorneys, employees, agents, and advertisers

   to provide Plaintiffs with false and misleading information. Defendant, Walsh Jr., directed

   Defendant, USREDA employees, agents, and advertisers to provide Plaintiffs with false and

   misleading information. Defendant, Walsh Jr. also met with sales agents, investors, and prospective

   investors multiple times regarding the Greystone Hotel project to provide false and misleading

   information.

        ii.         USREDA Holdings

              74.     Defendant, Walsh Jr. held the title of “Managing Director” of Defendant, USREDA.

   Defendant, Walsh Jr., directed Defendant, USREDA attorneys, employees, agents, and advertisers


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   to provide Plaintiffs with false and misleading information. Defendant, Walsh Jr., directed

   Defendant, USREDA employees, agents, and advertisers to provide Plaintiffs with false and

   misleading information. Defendant, Walsh Jr. also met with sales agents, investors, and prospective

   investors multiple times regarding the Greystone Hotel project to provide false and misleading

   information.,

           75.     Defendant, Walsh is the sole member of Defendant, USREDA Holdings. Beginning

   in 2016, to prevent criminal and civil liability for the alleged fraud, Defendant, Walsh transferred

   his ownership of various Walsh Entities to Defendant, USREDA Holdings.

        iii.     WWB Trust

           76.     Defendant, Walsh directed Plaintiffs to authorize Defendant, WWB Trust to act as

   the Parties’ escrow agent to hold Plaintiffs’ EB-5 investment. Defendant, WWB Trust provided

   fake escrow agent services to Plaintiffs for their immigration applications and EB-5 investment.

   Defendant, Walsh then, as owner and manager of Defendant, WWB Trust, misrepresented that it

   was a neutral escrow agent and that the checking account was an actual escrow account.

      D. THE “VOSOTAS ENTITIES”

           77.     Defendants, D. Vosotas and J. Vosotas own and manage numerous entities, all

   involved, created and manipulated to perpetuate the fraud with the Greystone EB-5 Partnership

   scheme. These entities include:

                   1) United EB5,
                   2) Greystone EB-5 Partnership,
                   3) Greystone Terra Firma,
                   4) Greystone Hotel Miami,
                   5) Greystone Option Holder,
                   6) Greystone Hotel Developer,
                   7) Greystone Managing Member,

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                     8) Greystone Tenant,
                     9) Santa Barbara 230,
                     10) VOS Hospitality,
                     11) VOS Holdings I,
                     12) VOS CRE I,
                     13) VOS Manager I, and
                     14) Trans Inns Associates (hereinafter, collectively the “Vosotas Entities”).

          78.        Defendant, J. Vosotas, through the Vostoas Entities, is a Twenty-Five Percent (25%)

   manager/member of the Greystone Properties.

          79.        Defendant, D. Vosotas, though the Vosotas Entities is a Twenty-Five Percent (25%)

   manager/member of the Greystone Properties.

          80.        Additionally, Defendant, Muhl is listed as a manager of the following Vosotas

   Entities: (1) Greystone Terra Firma, (2) Greystone Hotel Developer, (3) Greystone Managing

   Member, and (4) Greystone Tenant. Defendant, Muhl, through the Vostoas Entities, is a Fifty

   Percent (50%) manager/member of the Greystone Properties.

      E. THE “B GROUP”

          81.        Defendant, Muhl owns and manages BBM 3 and BBM 3 II (collectively, hereinafter

   the “B Group”). Defendant, Muhl is a business partner and associate of Defendants, D. Vosotas

   and J. Vosotas.

      F. THE CREATION OF THE “GREYSTONE EB-5 PARTNERSHIP” SCHEME

          82.        Beginning in 2014, Defendants, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl,

   and the B Group entered into a partnership with Defendants, Walsh and the Walsh Entities to obtain

   EB-5 funding for the Greystone Properties.

          83.        To further this partnership, Defendants, Walsh, the Walsh Entities, D. Vosotas, J.

   Vosotas, the Vosotas Entities, Muhl, and the B Group created Defendant, Greystone EB-5
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   Partnership. The managers of Defendant, Greystone EB-5 Partnership are Defendants, Walsh and

   J. Vosotas through their entities Defendants, SARC and United EB5.

          84.     Defendants, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the B Group

   then provided information regarding the hotel project to Defendants, Wash and the Walsh Entities.

   This information included current equity, project investments, potential loan and mortgage

   information, development timelines, economic analysis, and the ownership structure of the

   properties.

          85.     Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities,

   Muhl, and the B Group then created an Investment Portfolio and fake advertising materials for the

   Greystone Project.

          86.     Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities,

   Muhl, and the B Group through websites, newsletters, brochures, magazine advertisements and

   sales agents distributed false information and advertising materials for the Greystone EB-5 Project

   targeting potential EB-5 investors, particularly in the Chinese market.

      G. THE “GREYSTONE PROPERTIES”

          87.     Through various entities, Defendants, D. Vosotas, J. Vosotas, and Muhl own and

   manage the Greystone Properties. In fact, Defendants, D. Vosoats, J. Vosotas and Muhl used

   various entities to purchase real property, enter into loan agreements, and assign rights for the

   Greystone Properties.

          88.     On February 22, 2012, Defendants, D. Vosotas, J. Vosotas and Muhl created

   Defendant, Greystone Terra Firma.

          89.     On or about May 17, 2012, Defendants used Greystone Terra Firma to purchase the

   Greystone Hotel, an abandoned property, located at 1920 Collins Avenue, Miami Beach, Florida,


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   and executed a Special Warranty Deed (hereinafter the “1920 Collins Ave. Special Warranty

   Deed”). A true and accurate copy of the 1920 Collins Ave. Special Warranty Deed for the property

   located at 1920 Collins Avenue is attached hereto as Exhibit 2.

          90.     Defendant, Santa Barbara 230 was created in October 21, 2013 and with Defendant,

   J. Vosotas as its manager.

          91.     On or about January 3, 2014, Defendants, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and The B Group used Santa Barbara 230 to purchase the Santa Barbara

   Apartments, the adjacent Hostel/Apartments next to the Greystone Hotel located at 20 230th Street,

   Miami Beach, Florida and, executed a Special Warranty Deed (hereinafter “Santa Barbara Special

   Warranty Deed”). A true and correct copy of the Santa Barbara Special Warranty Deed is attached

   hereto as Exhibit 3.

          92.     When Plaintiffs made their investments into the Greystone EB-5 Partnership,

   Defendant, Greystone Terra Firma was owned by Defendants, Greystone Hospitality and BBM 3.

   Defendant, Greystone Hospitality is owned and controlled by Defendants, D. Vosotas and J.

   Vosotas.

          93.     On or about January of 2016, Defendants, D. Vosoats, J. Vosotas and Muhl illegally

   transferred Defendant, Greystone Terra Firma to Greystone Delaware Statutory Trust, in

   anticipation of fraud claims, and to prevent criminal and civil liability.

      H. HOW THE GREYSTONE PROJECT PURPORTED TO FUNCTION

          94.     By way of a partnership agreement, security agreement, loan agreement and

   contract, in 2014-2017, Plaintiffs invested Five Hundred Thousand Dollars ($500,000.00) into the

   Greystone Partnership in exchange for one (1) partnership share and paid an additional Forty-Five




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   Thousand Dollars ($45,000.00) for administrative fees and Fifteen Thousand Dollars ($15,000.00)

   in legal fees.

           95.      The offering was made to a total of forty-four (44) potential investors for a total

   capital raise of Twenty-Two Million Dollars ($22,000,000.00).

           96.      Defendants represented that the funds invested into the Greystone Partnership

   would be loaned to Defendant, Greystone Hotel Miami, an EB-5 job creating entity to develop the

   Greystone Properties, and such loan would be secured by a lien on the Greystone Properties.

           97.      The false details of the Greystone EB-5 Partnership investment are stated

   throughout the Greystone Hotel Investment Portfolio, drafted and distributed to Plaintiffs by

   Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the

   B Group. A true and accurate copy of the Greystone Hotel Investment Portfolio is attached hereto

   as Exhibit 4.

           98.      The Investment Portfolio consists of the following agreements: a Limited

   Partnership Agreement, a Subscription Agreement, a PPM, a Legal Service Agreement, an Escrow

   Agreement, a Loan Agreement, a Business Plan, and an Economic Report. See Exhibit 4.

           99.      The summary of the Partnership Agreement, Loan Agreement, PPM, and Escrow

   Agreement is as follows: Plaintiffs would invest in Greystone EB-5 Partnership as limited partners,

   contributing Five Hundred Thousand Dollars ($500,000.00). Defendant, Greystone EB-5

   Partnership would hold Plaintiffs’ funds in escrow, pending EB-5 processing and approval. Upon

   being released from escrow, the General Partners of Greystone EB-5 Partnership (Defendants,

   Walsh and J. Vosotas, through SARC and United EB-5) would then loan Plaintiffs’ funds to

   Defendant, Greystone Hotel Miami to develop the Greystone Project and meet USCIS’s EB-5

   requirements. Defendant, Walsh acting as General Partner of Defendant, Greystone EB-5


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   Partnership and Defendant, J. Vosotas acting as manager of Greystone Hotel Miami had already

   executed the loan agreement stating Plaintiffs’ funds would be used to create ten (10) jobs and the

   Plaintiffs’ investment was secured by collateral, defined in the attached Business Plan as the

   Greystone Properties. Finally, the Partnership Agreement, Escrow Agreement, and Loan

   agreement all stated that if Plaintiffs’ I-526 applications were denied, Plaintiffs would receive a

   full refund, both from Defendant, Greystone Hotel Miami for the amount loaned, and also from

   Defendant, Greystone EB-5 Partnership for any funds still held in escrow.

      I. HOW THE “GREYSTONE PROJECT” ACTUALLY FUNCTIONED

          100.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group created a scheme where they, through their entities, acted as

   Plaintiffs’ attorney, immigration advisor, financial advisor, escrow agent, lender, borrower, General

   Partner, EB-5 Regional Center, and EB-5 developer.

          101.    Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities,

   Muhl, and the B Group held multiple conflicting fiduciary duties and obligations to Plaintiffs.

   Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities,

   Muhl, and the B Group then used their expansive control to manipulate Plaintiffs.

          102.    Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities,

   Muhl, and the B Group formed a fake escrow account that allowed them to misappropriate

   Plaintiffs’ funds outside the terms of the Investment Portfolio agreements. Defendant, WWB Trust,

   is the purported escrow agent for the Greystone EB-5 Partnership overseeing an escrow account

   at PNC Bank.

          103.    However, Defendant, WWB Trust was neither a neutral nor an independent escrow

   agent, but rather another entity controlled and managed by Defendant, Walsh. Furthermore, the


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   account created at PNC bank where Defendants instructed Plaintiffs to wire their funds was not a

   legitimate escrow account, but a checking account controlled by Defendant, Walsh’s entity, SARC.

            104.   Contrary to the represented investment terms, Plaintiffs’ investment was not

   protected by an escrow agent or held in an escrow account, but instead in a checking account

   controlled by Defendants. This allowed Defendants, Walsh, Walsh Jr., the Walsh Entities, D.

   Vosotas, J. Vosotas, the Vosotas Entities, Muhl, and the B Group to misappropriate Plaintiffs’

   funds.

            105.   Defendants, Walsh, Walsh Jr., the Walsh Entities, D, Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group knew or should have known Plaintiffs’ funds were not managed

   by a legitimate escrow agent or placed in a neutral escrow account. Plaintiffs would not have

   invested in the Greystone Project without the representation that their investment would be held

   in a legitimate escrow account and managed by a legitimate escrow agent.

            106.   Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group concealed and misrepresented the actual ownership of the

   Greystone Properties on multiple instruments in the Investment Portfolio agreements. Throughout

   the Investment Portfolio, Defendants state that Greystone Hotel Miami is the owner of the

   Greystone Properties. The Loan Agreement further states that Defendant, Greystone Hotel Miami

   owns the Greystone Properties without any encumbrances, this too is false.

            107.   Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group went as far as to fabricate and provide Plaintiffs and USCIS with

   loan documents falsely stating that Defendants, Greystone Hotel Miami owned the Greystone

   Properties. These false loan documents were never filed with the Miami-Dade County Clerk of

   Court. A true and accurate copy of the Loan Document is attached hereto as Exhibit 5.


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              108.     At the time Plaintiffs were defrauded, the Greystone Hotel 5 was owned by

   Defendant, Greystone Terra Firma. Furthermore, Greystone Terra Firm was not owned by

   Defendant, Greystone Hotel Miami. As stated above, Defendants have now transferred the

   Greystone Properties, including the Greystone Hotel, to Greystone Delaware Statutory Trust to

   further conceal the truth.

              109.     The property located at 230 20th Street in Miami Beach, Florida is owned by

   Defendant, Santa Barbara 230 LLC. As shown by the various instruments filed with the Miami-

   Dade County Clerk of Court, at the time investors were defrauded Defendant, Santa Barbara 230

   was owned by Defendants, D. Vosotas, J. Vosotas, and Muhl through their entities SB 230

   Hospitality, LLC and BBM 3 II, not Greystone Hotel Miami, as falsely represented

              110.     Contrary to the represented investment terms Plaintiffs’ investment was not secured

   by collateral. Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group offered secured collateral on Plaintiffs’ investment on all real

   property owned by Defendant, Greystone Hotel Miami.

              111.     Defendants furthered their misrepresentations with a business plan and mortgage

   agreement, falsely stating Defendant, Greystone Hotel Miami owned the Greystone Properties. In

   reality, Greystone Hotel Miami did not title to the Greystone Properties. This allowed Defendants

   to misappropriate Plaintiffs’ funds without fear of Plaintiffs recovering the promised collateral, the

   Greystone Properties.

              112.     Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, and the

   Vosotas Entities knew or should have known Greystone Hotel Miami was not the owner of the

   Greystone Properties, that the collateral promised to Plaintiffs in the Greystone Properties was


   5
       The property is located at 1920 Collins Avenue, Miami Beach, Florida.

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   fraudulent and falsified, and that, if Plaintiffs’ funds were misappropriated, Plaintiffs would not be

   able to recover any collateral. Plaintiffs relied on Defendants’ representations and would not have

   invested in the Greystone Project without the representations that their investment was secured by

   collateral in the Greystone Properties.

          113.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group misrepresented and falsely promised that Plaintiffs’ investment

   was secured by a guaranteed return policy. The Loan Agreement executed by Defendant, Walsh

   and J. Vosotas stated that if Plaintiffs’ I-526 application was denied, Plaintiffs would receive a full

   refund from Defendant, Greystone Hotel Miami. The guaranteed return policy was repeated on

   Defendants’ websites, though Defendants’ sales agents, and in promotional materials produced by

   Defendants.

          114.    Also, the Escrow Agreement and Partnership Agreement state that any funds that

   remain in escrow will be returned to Plaintiffs if their I-526 applications were denied.

          115.    Contrary to the above representations, Defendants misappropriated Plaintiffs’ funds

   and never held them in escrow or loaned the funds to Defendant, Greystone Hotel Miami. As such,

   Plaintiffs were unable to receive their guaranteed return.

          116.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group knew or should have known that Plaintiffs’ funds were

   misappropriated, and Plaintiffs would not receive a guaranteed return if their I-526 applications

   were denied. Plaintiffs would not have invested in the Greystone Project without the representation

   that their investment was secured by guaranteed return policy.




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      J. DEFENDANTS’ SOLICIT THE PLAINTIFFS                 TO   INVEST   IN   THE FRAUDULENT, NON-
         EXISTENT EB-5 PROJECT

          117.      Beginning in 2014, Defendants, Walsh, Walsh Jr., and Defendants traveled to China

   to solicit the Plaintiffs regarding the EB-5 program at the Greystone Hotel.

          118.      Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group collaborated to produce and distribute advertisements with false

   and misleading information. The advertisements repeatedly made false and misleading statements

   about: (1) the use of investor funds; (2) the use of an escrow account to hold investor funds prior

   to disbursement to Greystone Hotel Project; (3) the guaranteed return of investors' funds if their I-

   526 Petitions were denied; (4) Walsh and co-conspirators' backgrounds; (5) Defendants’ success

   rate in processing EB-5 applications; (6) Developer's equity in the project; and (7) The existence

   of bank loans in the project. The false and misleading statements in the advertisements induced

   Plaintiffs into investing in the Greystone Project. At the time these advertising materials were

   distributed to Plaintiffs, Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas,

   the Vosotas Entities, Muhl, and the B Group knew, or had reason to know the statements were false

   and or misleading. Plaintiffs would not have invested in the project but for the misleading

   information in the project advertisements.

          119.      Specific examples of misleading and false statements in advertisements produced

   by Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities,

   Muhl, and the B Group include the following:

                 a. In 2014, WWB, Wealth Without Boarders, EB-5 Magazine controlled by
                    Defendants, Walsh and the Walsh Entities, printed an article featuring the Greystone
                    Hotel and made the following false and misleading information about the Greystone
                    Hotel. True and accurate copies of excerpts from the Wealth Without Boarders EB-
                    5 Magazine are attached hereto as Composite Exhibit 6.

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                   i. The Greystone Property was a “historic Miami Beach landmark.”

                  ii. The property’s renovation would include three (3), “food and beverage
                      venues from an award winning, James Bear-nominated chef that appeared
                      on Bravo’s ‘Top Chef.’”

                  iii. The Greystone Property would have a basement speakeasy bar, “slated to
                      become one the area’s most exciting entertainment venues.”

                  iv. The Greystone Property was owned and managed by VOS Hospitality, with
                      over Thirty (30) years of hospitality experience and with noted focus on job
                      creation.

                  v. The Greystone Property had support from the Miami Design Preservation
                      League and Miami Beach Zoning & Planning Board.

                  vi. The Greystone Project will create at least Seven Hundred and Thirty (730)
                      new permanent jobs.

                 vii. The Greystone Project would only need to create Four Hundred and Forty-
                      Four (440) jobs to comply with EB-5 regulations, implying a limit of Forty-
                      Four (44) EB-5 Investors.

                 viii. That SARC was a leading Regional Center and processor of investment-
                      based immigration (EB-5).

                  ix. That a partnership with SARC and VOS Hospitality would provide,
                      “knowledge and expertise that investors can count on.”

                  x. That SARC’s portfolio consisted of “safe and exclusive projects” in the EB-
                      5 Market Place.

                  xi. That EB-5 Loans represented 34.9% of the total project cost, or Twenty-
                      Two million Dollars ($22,000.00).

                 xii. That the Greystone Project had Thirty Million Dollars ($30,000,000.00) in
                      bank financing, or 47.5%.


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                      xiii. That the Greystone Project had $7.7 million in developer equity, or 12.2%.

                      xiv. That the Greystone Project had $3.3 million in historic tax credits, or 5.4%

                 b. The WWB, Wealth Without Boarders, EB-5 Magazine also printed a profile of

                    Defendant, Walsh as President/CEO of USREDA stating the following false and

                    misleading information (See Composite Exhibit 6):

                        i. That Walsh has extensive experience in merger and acquisition strategy and
                           law, including experience in U.S. Security and Exchange law.

                       ii. That Walsh managed several successful mergers of public companies,

                       iii. That Walsh had over thirty (30) years of experience in marketing,
                           development, and process engineering.

                       iv. That USREDA was a global leader in investment immigration.

                        v. That USREDA’s subsidiaries, SARC and JJW Consultancy, specialized in
                           connecting investors with “emerging organization in key growth sectors.”

                 c. A Greystone Hotel brochure produced by Defendants, Walsh, the Walsh Entities,

                    D. Vosotas, J. Vosotas, and the Vosotas Entities stated the following false and

                    misleading information. A true and accurate copy of the Greystone Hotel brochure

                    is attached hereto as Exhibit 7.

                        i. The Greystone Hotel would have Eighty-Eight (88) Rooms.

                       ii. The total building size was Fifty Thousand (50,000) square feet.

                       iii. The total lot size was Twenty Thousand (20,000) square feet.

                       iv. United EB-5 and its affiliates were a “safe and secure investment
                           opportunity.”

                        v. Under the heading, “Job Creation Certainty,” the brochure stated, “The
                           project would create 733.7 jobs, or 16.5 jobs per investor.

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                       vi. Under the heading, “Project Completion Certainty” the brochure stated,
                           “The EB-5 Investment will be protected as the Project has been able to
                           secure and fund substantial equity from ownership. This allows the Project
                           to have a low amount of debt as a percentage to the total deal cost.”

                      vii. That United EB-5, “execute[d] the greatest amount of certainty and job
                           growth potential.”

                      viii. That United EB-5 was “owned and operated by seasoned real estate
                           business owners who are also investors, developers and managers of
                           hospitality and commercial real estate.”

                       ix. That SARC was one of the most respected processors of investment-based
                           immigration.

                       x. That SARC was a federally approved Regional Center and licensed by
                           USCIS to undertake EB-5 projects.

                       xi. That VOS Hospitality, as part of Trans Inns Management, was, “one of the
                           nation’s leading independent full and select service hospitality management
                           companies.”

                 d. United EB-5’s webpage was produced by Defendants, D. Vosotas, J. Vosotas, and

                    the Vosotas Entities. United EB-5’s webpage is hosted through VOS Hospitality’s

                    website domain.    United EB-5’s webpage contained the following false and

                    misleading statements. A true and accurate copy of excerpts from United EB-5’s

                    webpage is attached hereto as Composite Exhibit 8.

                        i. That USREDA has, “better than 99% approval rate on I-526 petitions-
                           significantly higher than the national USCIS average of 89%.” See Id. at 3.

                       ii. That EB-5 Petition's expert staff has “submitted hundreds of individual
                           client files and are equipped to help EB-5.” immigrant investors navigate
                           the process with success and efficiency.” See Id.

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                     iii. United EB-5’s Escrow Services were in line with “Best Practices.” See Id.

                     iv. United EB-5 offered a “Guarantee: Simply stated, You get approved, or your
                         money back!” See Id. at 4.

                      v. United EB-5 offered a “Guarantee: When you file your I-526 application
                         through us you can be assured that we will process the application
                         expeditiously. You can have confidence that our experienced staff will
                         address any areas that may cause a deficiency or regulatory issue.” See Id.
                         at 5.

                     vi. United EB-5 offered a, “Guarantee: For these reasons we are delighted to
                         offer a FULL REFUND in the unlikely event the Immigration Service
                         denies a submission.” See Id. at 6.

          120.    Defendants, Walsh and Walsh Jr. acting on behalf of the Walsh Entities met with

   clients in person at various Walsh Entities’ offices in China. In these meetings Defendant, J.

   Vosotas acting on behalf of the Vosotas Entities telephonically. During these meetings Defendants,

   Walsh, Walsh Jr. Walsh Entities, J. Vosotas, and the Vosotas Entities made material false and

   misleading statements regarding: (1) the use of investor funds; (2) the use of an escrow account to

   hold investor funds prior to disbursement to Defendant, Greystone Hotel Miami; (3) the existence

   of conditions precedent to the advancement of loan disbursements to Defendant, Greystone Hotel

   Miami; (4) the guaranteed return of investors' funds if their I-526 Petition were denied; (5)

   Defendant, Walsh and co-conspirators' backgrounds; (6) the preparation and periodic disclosure to

   investors of financial reports; (7) Defendant, Greystone Hotel Miami’s repayment of the loan; (8)

   Defendant, Greystone Hotel Miami’s purported ownership of and investment in the Greystone

   Properties, (9) Defendant, Greystone Hotel Miami’s prior to the commencement of the Greystone

   EB-5 Partnership offering; and (10) The existence of a mortgage, or other security, the investors

   held through the Greystone EB-5 Partnership against the Greystone Properties to secure their loan

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   and investment. Defendants, Walsh, Walsh Jr. Walsh Entities, J. Vosotas, and the Vosotas Entities

   knew, or had reason to know the statements were false and or misleading. Plaintiffs relied on the

   information provided in these in person meetings.

          121.      Specific examples of misleading and false statements by Defendants, Walsh, Walsh

   Jr., the Walsh Entities, J. Vosotas, and the Vosotas Entities include, but are not limited to the

   following:

                 a. On July 28, 2016, Plaintiffs met with Zachary J Franklin, the general manager of
                    SARC and JJW Consultancy, at the company’s Shanghai Office. Defendant, J.
                    Vosotas attended the meeting via teleconference. Defendant, J. Vosotas provided
                    Plaintiffs with false and misleading information as to ownership of the Greystone
                    Properties, guarantees on the return of Plaintiffs’ investment, and the existence of a
                    mortgage, or other security. Zachary J. Franklin repeated these false and misleading
                    statements and directed Plaintiffs to statements in the Investment Portfolio and
                    offering materials which also repeated the false and misleading statements.
                    Defendant, J. Vosotas finished the call by falsely stating that Plaintiffs, as owners
                    of the Greystone Hotel, would be eligible to live for free at the property upon the
                    projects’ completion.
      K. DEFENDANTS FRAUDULENTLY INDUCE PLAINTIFFS WITH OFFERING MATERIALS, IN
         THE FORM OF AN INVESTMENT PORTFOLIO

          122.      Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group distributed offering documents and marketing materials in the

   form of an Investment Portfolio to investors. The Investment Portfolio as, stated above, included

   a Limited Partnership Agreement, a Subscription Agreement, a PPM, a Legal Service Agreement,

   an Escrow Agreement, a Loan Agreement, a Business Plan, and an Economic Report. Defendants

   combined these materials into a multi-hundred-page packet that also contained an “EB-5 Investor

   Documents & Process Guide,” a fee agreement, and a USREDA/SARC Service Agreement. To

   streamline and expedite the closing of an investment, Defendant, Greystone EB-5 Partnership
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   provided a booklet which contained only the signature pages of the documents necessary for

   investors to make their investments and file their I-526 Petition with the USCIS. See Exhibit 4.

           123.   The Greystone Partnership's offering materials also included various versions of a

   project brochure that was translated into Chinese--Defendants went to great lengths to defraud the

   Plaintiffs.

           124.   Greystone's offering materials appeared under some combination of Greystone EB-

   5 Partnership, Greystone Hotel Miami, VOS Hospitality, Trans Inn Assocs., SARC, USREDA, and

   Greystone Hotel’s names and logos. Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas,

   J. Vosotas, the Vosotas Entities, Muhl, and the B Group provided the Investment Portfolio to

   solicited Plaintiffs into investing in the Greystone Project. The Investment Portfolio repeatedly

   made the following false or misleading statements regarding (1) the use of investor funds; (2) the

   use of an escrow account to hold investor funds prior to disbursement to Greystone Hotel Miami;

   (3) the existence of conditions precedent to the advancement of loan disbursements to Greystone

   Hotel Miami; (4) the guaranteed return of investors' funds if their I-526 Petitions were denied; (5)

   Walsh and co-conspirators’ backgrounds; (6) the preparation and periodic disclosure to investors

   of financial reports; (7) Greystone Hotel Miami’s repayment of the loan; (8) Greystone Hotel

   Miami’s purported ownership of and investment in the Greystone Properties; (9) Greystone Hotel

   Miami’s prior to the commencement of the Greystone EB-5 Partnership offering; and (10) the

   existence of a mortgage, or other security, the investors held through the Greystone EB-5

   Partnership against the Greystone Properties to secure their loan and investment. At the time the

   Investment Portfolio was distributed to Plaintiffs, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas,

   J. Vosotas, the Vosotas Entities, Muhl, and the B Group knew, or had reason to know the statements




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   were false and or misleading. Plaintiffs relied on this false and misleading information in

   determining to invest in the Greystone Project.

          125.      Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group, through the Greystone EB-5 Partnership, solicited investors using

   sales agents. Defendant, Greystone EB-5 Partnership sent an email to the sales agents that included

   links to its investment portfolio, the brochure, and the other advertising documents. Each investor

   or the sales agent for the investor received a copy of the relevant offering documents prior to

   investing—all containing false information.

          126.      Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and the B Group, participated in creating Greystone Partnership’s fraudulent

   offering materials and the drafted Greystone EB-5 Partnership agreement, Greystone Project’s

   business plans, loan documents, subscription, limited partnership, and escrow agreements with

   information provided by Walsh, D. Vosotas J. Vostotas, and Muhl. Walsh and J. Vosotas reviewed

   and approved all of these documents. Walsh and J. Vosotas also signed all the offering materials

   and investment documents as General Partners and managers despite knowledge of the false

   representations therein.

          127.      Specific examples of false and misleading statements in the Investment Portfolio's

   offering materials are as follows:

                 a. The Greystone Limited Partnership Agreement signed by Walsh and J. Vosotas
                    falsely stated: (1) Partnership was formed for the purpose of investing in Qualifying
                    Investments under the EB-5 Program. A true and accurate copy of the Greystone
                    Limited Partnership Agreement is attached hereto as Exhibit 9; (2) An escrow
                    account will hold the limited partners’ capital contributions. See Id. at page 6, ¶
                    2.1.2; (3) The project was to develop and operate the Greystone Hotel. See Id. at
                    page 5; (4) The capital contributions will be released from escrow under the terms

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                    of the escrow agreement. See Id. at page 6; and (5) The General Partners (Walsh
                    and J. Vosotas) shall maintain accurate account and make such accounting available
                    to the limited partners. See Id. at page 12.
                 b. The Greystone PPM signed by Walsh and J. Vosotas falsely stated the following. A
                    true and accurate copy of the Greystone PPM is attached hereto as Exhibit 10. (1)
                    The General Partners will provide limited partners addition information regarding
                    the investment (2) The General Partners have a successful history of commercial
                    development, construction, retail, and management experience; (3) The borrower,
                    Greystone Hotel Miami, will use Plaintiffs’ funds to invest in the Greystone
                    Property and fulfill the EB-5 programs job creation requirements; (4) The
                    Greystone Project will create the necessary number of jobs and economic benefits
                    to assure the foreign investor that their application for residence status is and will
                    continue in good standing; (5) The Greystone Partnership will loan the proceeds
                    from the offering to the Greystone Project; (6) all subscriptions will be paid to an
                    Escrow account under the control of another entity, or Escrow Agent; and (7) The
                    Greystone Partnership intended to loan the proceeds of the offering to the Greystone
                    Project.
                 c. The Escrow Agreement signed by Walsh falsely stated: (1) PNC Bank was an
                    “Escrow Bank.” (2) WWB Trust was an “Escrow Agent; (3) The Escrow Agent
                    shall hold Plaintiffs’ funds until their I-526 Petitions have been submitted. A true
                    and accurate copy of the Escrow Agreement is attached hereto as Exhibit 11.
                 d. The loan agreement signed by Walsh and J. Vosotas falsely stated: (1) The proceeds
                    of this Loan will be used for Greystone Hotel Miami to develop the Greystone
                    Properties. See Exhibit 5; (2) Greystone Hotel Miami shall provide Plaintiffs a
                    security interest in the Greystone Properties See Id; (3) Greystone Hotel Miami
                    will create ten (10) full time jobs per the EB-5 program See Id; (4) Plaintiffs, in
                    the event of default, have the right to foreclose on the Greystone Property See Id;
                    (5) Greystone Hotel Miami hold title to the Greystone Properties free of
                    encumbrances. See Id; (6) Greystone Hotel Miami conducts business solely in its
                    own name and not through any other entities See Id. Plaintiffs shall receive a full
                    return/refund of the investment if Plaintiffs’ I-526 application is denied. See Id.

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                 e. The Greystone Comprehensive Business Plan was attached as an exhibit to the
                    signed agreements in the Offering Materials. A true and accurate copy of the
                    Greystone Comprehensive Business Plan is attached hereto as Exhibit 12. The
                    Greystone Business Plan made the following false and misleading statements: (1)
                    The Greystone Properties were owned by Greystone Hotel Miami. See Id.; (2) The
                    Greystone project anticipated financing of Sixty-Three Million Dollars
                    ($63,000,000.00). See Id. (3) That initial sources of financing included debt
                    financing of Ten Million Dollars ($10,000,000.00) and equity of Fifteen Million
                    Dollars ($15,000,000.00). See Id.; (4) That final sources of financing included a
                    first mortgage of Fifteen Million Dollars ($15,000,000.00), equity of Twenty
                    Million Dollars ($20,000,000.00), HTC Equity of $6.2 million, and EB-5
                    investments of Twenty-Two Million Dollars ($22,000,000.00). See Id.; (5) That the
                    hotel construction would be completed by the fourth quarter of 2015 See Id.; and
                    that the project was anticipated to create 733.7 direct and indirect jobs. See Id.

                 f. The Subscription Agreement and Partnership Agreement state the following false
                    or misleading statements. A true and accurate copy of the Subscription Agreement
                    and Partnership Agreement is attached hereto as Exhibit 16. See also Exhibit 8.

                        i. The managers of the General Partner have a successful history of
                            commercial development, construction, retail, and management experience.
                       ii. Timeline for acquisition of funding is anticipated to begin in 2014, and
                            construction of the Project to begin concurrently with acquisition of EB-5
                            funding.
                       iii. The Partnership anticipates that the Project will be open for business in
                            2016.
                       iv. Anticipated project costs will be Sixty-Three Million Ninety-Five
                            Thousand and Eight Hundred and Ninety-Eight Dollars ($63,095,898.00).
                        v. The Project shall provide substantial benefits to the regional economy that
                            exceeds the strict USCIS requirements for job creation that will allow a
                            foreign Investor to qualify for an EB-5 Immigration Visa.
                       vi. The Offering provides the Investors with a projected annual dividend.

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                    vii. The Partnership will loan the proceeds of the offering to Greystone Project
                          to partially finance the acquisition, development, and operation of the
                          Greystone Properties.
                    viii. To maintain complete security in the payment process for the investor and
                          the partnership, subscription funds will be wired into the Escrow Bank and
                          held in Escrow.
                     ix. The Partnership will furnish financial statements to Limited Partners
                          annually.
          128.    Prior to investing in the project, Plaintiff Chuen Ping Ng traveled to Miami Florida

   to meet with Mitch Garrett, the Vice President - Acquisition & Development of VOS Hospitality.

   Acting as an employee and agent of the Vosotas Entities, Mitch Garrett provided the following

   false and misleading information as part of a presentation for the Greystone Hotel EB-5 Project:

   (1) the ownership of the Greystone Properties, (2) a guarantee on the return of Plaintiffs’

   investment, (3) the existence of a mortgage, or other security on Plaintiff's investment, (4) the

   expected creation of jobs by the project, (5) Defendants' experience as developers for EB-5

   projects, and (6) the construction timeline for the Greystone Hotel.

      L. THE FAKE “ESCROW ACCOUNT”

          129.    To facilitate the fraud and misappropriation of Plaintiffs’ funds, Walsh and Walsh

   Entities sought banking services that would allow them to create an escrow account without having

   to follow standard escrow requirements.

          130.    Defendants, Ramirez and PNC, permitted Defendant, Walsh to create business

   checking account with PNC’s escrow services, and, in fact caused the account to be developed and

   opened. The effect of this was to make the business checking account appear as a legitimate escrow

   account to outside investors while providing no actual escrow protections (hereinafter the “Fake

   Escrow Account”).

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          131.    Defendants created a fake escrow account to obtain and control Plaintiffs’ funds

   without being stifled by standard banking escrow requirements.

          132.    Defendants, Walsh and the Walsh Entities’ prior EB-5 projects had previously used

   SunTrust Bank’s escrow account services. However, SunTrust’s escrow requirements would have

   prevented Walsh and Walsh Entities from carrying out the alleged fraud.

          133.    Walsh enlisted the help of a Walsh Entity employee, Anthony Reitz (hereinafter

   “Reitz”), to coordinate with Defendants Ramirez and PNC and create the fake escrow account.

          134.    Walsh employed Reitz from approximately January 2011 through February 2015 as

   the Chief Financial Ofﬁcer of SARC and USREDA. As Walsh's employee, Reitz took orders from

   and directly reported to Walsh.

          135.    Reitz was a former employee of PNC bank and had extensive knowledge of PNC’s

   lax policies. From his former employment with PNC, Defendant, Reitz had a personal and

   professional relationship with Defendant, Ramirez, a Vice-President at PNC’s Boynton Beach,

   Florida branch. Defendant, Reitz used his contact with Ramirez to set up a meeting with Daniel

   Osaba (hereinafter “Osaba”), a member of PNC’s Treasury Department.

          136.    Defendants, Reitz, Walsh and the Walsh Entities’ representative, met with

   Defendant, Ramirez and Osaba at Walsh's office. At this meeting Defendant, Reitz disclosed

   Defendant, Walsh’s EB-5 business and escrow requirements and discussed Defendant, PNC’s

   escrow account requirements and procedures.

          137.    Defendant, Reitz disclosed that (1) Walsh, and Walsh Entities had potential EB-5

   clients/investors from China; (2) Each EB-5 client would invest Five Hundred Thousand Dollars

   ($500,000.00) plus an administrative fee of between Forty Thousand Dollars ($40,000.00) and

   Sixty Thousand Dollars ($60,000.00); (3) Walsh expected total investment in the tens of millions


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   of dollars; (4) the EB-5 investment funds were subject to escrow agreements; (5) Walsh and Walsh

   Entities would manage the EB-5 investment on behalf the EB-5 clients; (6) Walsh and SARC

   currently had an escrow account at SunTrust Bank; (7) Walsh was seeking escrow account services

   with less restrictions and oversight; and (8) Walsh and Walsh Entities wanted a PNC escrow

   account that was free of these restrictions and oversight.

          138.    At a second meeting, Defendant, Reitz was told that PNC, like SunTrust Bank,

   would require SARC and PNC to enter an escrow administration agreement as a prerequisite for

   creating an escrow account. Furthermore, similar to SunTrust Bank, PNC would require Walsh

   and Walsh Entities to strictly follow the terms of the escrow administration agreement.

          139.    This arraignment was unworkable for Walsh as it would prevent him from having

   unrestricted access to the investor's funds. As such, Reitz informed Ramirez and PNC that Walsh

   required a banking arraignment without the restrictions of an escrow administration agreement.

          140.    Defendants, Ramirez and PNC agreed to accommodate Defendant, Walsh’s

   demands. Defendant, Ramirez told Reitz that “if you need functionality of an escrow account, we

   can provide the escrow service modules with this type of business checking account.” Ramirez

   and PNC proposed opening a business checking account with PNC’s escrow services modules.

   The effect of this would be to allow Walsh to operate a business checking account that appeared

   to be an escrow account. However, crucially, the account would not in fact be a real escrow

   account, nor would it have the restrictions of a real escrow account.

          141.    In other words, Defendant, PNC suggested a policy loophole to assist Defendants,

   Walsh, Reitz and SARC in perpetuating their fraud, conspiracy and other bad acts.

          142.    Defendants, Ramirez and PNC agreed to allow Defendants, Walsh and SARC to

   open and operate a business checking account with PNC’s escrow services. The purpose of this


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   was to make the business checking account appear as a legitimate escrow account to outside

   investors. Walsh and SARC would then be able to falsely demonstrate to potential EB-5 investors

   that their funds were being transferred to and held by SARC's “Escrow Account”.

          143.    Defendants, Ramirez and PNC knew Walsh and Walsh Entities’ account was not a

   legitimate Escrow Account and knew, or should have known that they were assisting Defendants,

   Walsh and the Walsh Entities in creating a fake escrow account.

          144.    Upon information and belief, Defendants, Ramirez and PNC’s agreement with

   Walsh violated PNC’s internal rules, regulations and policies.

          145.    Ramirez stood to gain from this agreement by increasing profits for his employer,

   PNC. Through his Vice President position at PNC, Ramirez received increase salary, awards, and

   promotion opportunities for increasing PNC’s deposits. Ramirez’s title, as a Vice President at PNC,

   included Business Banking.

          146.    PNC stood to gain a new business from an account with tens of millions in deposits.

   This included significant service fees, interest, and profits.

          147.    Ramirez and PNC engineered the opening of an Analysis Business Checking

   Account in the name of South Atlantic Regional Center LLC — Greystone EB-5, LLP Escrow

   Account.

          148.    Defendants, PNC and Ramirez benefitted by conspiring with Defendants to create

   the Fake Escrow Account.

      M. THE PNC WORKAROUND

          149.    In the second step of the Workaround, in order to create the illusion that the Analysis

   Business Checking Account was really an escrow account, PNC changed the name of the Fake




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   Escrow Account from South Atlantic Regional Center LLC – Greystone EB-5, LLLP to South

   Atlantic Regional Center LLC —Escrow Account.

          150.    Defendant, PNC did this or permitted this, despite knowing that the account was

   not an escrow account. By so doing, Ramirez and PNC knowingly made the Fake Escrow Account

   look like a legitimate escrow account with speciﬁc knowledge that while it was not one, it would

   appear like one and be used like one. This occurred before any of the Plaintiffs were defrauded

   into wiring money into the Fake Escrow Account. Throughout the existence of the Fake Escrow

   Account, PNC received fees for the services it provided to Walsh and Walsh Entities indirectly to

   Defendants in connection with the Fake Escrow Account. In addition, PNC was able to invest the

   tens of millions of dollars that ran through the Fake Escrow Account, for its own beneﬁt, while the

   money was held in the Fake Escrow Account. Ramirez and PNC assisted Walsh in creating a fake

   Escrow Account which appeared to outside investors as a legitimate escrow account protected by

   PNC’s escrow services. This allowed Walsh, the Walsh Entities, and Defendants to, without

   authorization, misappropriate Plaintiffs’ investment.

          151.    PNC had knowledge of the EB-5 program prior to entering this agreement with

   Walsh. PNC’s website included an article entitled “PNC Assists Ironstate Development in

   Rebuilding the Waterfront.” In this article PNC demonstrates detailed knowledge of the EB-5

   program.

          152.    PNC was also involved in the Navy Pier Court EB-5 Project until well after the

   fraud in this case began. Speciﬁcally, PNC’s Navy Pier Court credit facility was in place through

   February 2019 when it was reﬁnanced.

          153.    Additionally, PNC also markets itself to the EB-5 investments marketplace, as

   evidenced by the posting dated April 18, 2016, on the website called “EB-5 Investments-The EB-


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   5 Investment Marketplace.” This post is still active and available. Thus, PNC cannot feign

   ignorance as to the impact and importance of the Workaround or how critical it is to an EB-5

   Investor to know that her/his money will be held safely in an escrow account pending I-526

   application processing.

          154.    Once the Workaround was fully implemented, there were no further impediments

   to convincing Plaintiffs that their EB-5 investment monies and administrative fees were being

   wired into a legitimate escrow account and would be kept safe and untouched pending the

   processing of their I-526 applications. The creation of the Fake Escrow Account became the

   conduit that fed the Defendants’ fraud machine and was a proximate cause of Plaintiffs’ losses.

          155.    PNC was on notice that Plaintiffs’ believed they were transferring funds to a

   legitimate escrow account as the Plaintiffs’ wire transfers named the receiving account as “EB-5

   Investment Fund Escrow.” True and correct copies of exemplars of invoices are attached hereto as

   Exhibit 14.

          156.    PNC was compliant and complicit with Defendants’ fraud.

      N. UNKNOWINGLY, PLAINTIFFS WERE SENDING MONEY TO THE FAKE ESCROW ACCOUNT

          157.    In reliance upon the existence of the Fake Escrow Account, Plaintiffs each wired

   their respective Five Hundred Thousand Dollars ($500,000.00) EB-5 investments, Forty-Four

   Thousand Dollars ($40,000.00), Sixty Thousand Dollars ($60,000.00) administrative fees into

   what they believed was a legitimate, safe escrow account—it was not.

          158.    The Workaround, and the resulting Fake Escrow Account, was utilized by Walsh,

   the Walsh Entities, and the Defendants to collect, control and misappropriate all the funds that they

   later misappropriated from the Plaintiffs.




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          159.        As described above, Ramirez and PNC had speciﬁc knowledge that the Plaintiffs’

   funds that would be deposited into the Fake Escrow Account would be EB-5 investments, and they

   knew, or should have known of the legal implications of same. Despite the fact that none of

   Plaintiffs’ EB-5 investment monies were legally permitted to be used for any reason until their I-

   526 Petitions were approved, PNC and Ramirez did absolutely nothing to:

                 a. Prevent the Walsh, the Walsh Entities, and Defendants from taking Plaintiffs’
                      money from the Fake Escrow Account;
                 b.   Prevent the Walsh, the Walsh Entities, and Defendants from moving the money
                      stolen from the Fake Escrow Account into the Clearing Account;
                 c. prevent the Walsh, the Walsh Entities, and Defendants from wiring money out of
                      the Clearing Account to various other companies, individuals, or accounts
                      controlled by the Walsh, the Walsh Entities, and Defendants;
                 d. close the Fake Escrow Account until, on information and belief, May 2017;
                 e. close the Clearing Account until, on information and belief, May 2017;
                 f. inform Plaintiffs of Walsh, the Walsh Entities, and Defendants fraudulent acts;
                 g. inform Plaintiffs the misappropriation of their EB-5 investment monies from the
                      Fake Escrow Account; or
                 h. inform Plaintiffs of the further transfer of the EB-5 investment monies out of the
                      Clearing Account.

      O. DEFENDANTS’ FRAUD CONTINUED

          160.        Beginning in 2017, Plaintiffs began receiving requests from USCIS to provide

   additional evidence to support their EB-5 Petitions.

                 a. Defendants, J. Vosotas, D. Vosotas, Muhl, and Walsh provided false and misleading
                      information to Plaintiff’s immigration attorneys in an attempt to hide and conceal
                      the ongoing fraud. Such false and misleading information included photos of
                      ongoing construction of the Greystone Hotel, falsely claimed to be construction of

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                    the Santa Barbara Apartments. True and correct copies of the Construction Photos
                    are attached hereto as Composite Exhibit 15.
                 b. A Loan Agreement falsely stating ownership and financing of the Santa Barbara
                    Apartments (hereinafter “Santa Barbara 230 Loan Agreement). A true and correct
                    copy of the Santa Barbara 230 Loan Agreement is attached hereto as Exhibit 16.
                 c. An Ownership Chart falsely stating ownership of the Santa Barbara Apartments. A
                    true and correct copy of the Ownership Chart is attached hereto as Exhibit 17.

      P. PLAINTIFFS’ I-526 PETITIONS ARE DENIED BY USCIS
          161.      Plaintiffs were approved as accredited investors and their petitions were accepted

   within SARC’s program for the Greystone EB-5 Partnership investment.

          162.      Relying on Defendants’ representations, Plaintiffs diligently submitted all

   necessary paperwork in conjunction with their I-526 Petitions, asserting eligibility based on an

   investment in a Regional Center through Greystone Partnership and SARC.

          163.      However, because of the deficiencies in the project, Plaintiffs’ Form I-526 Petitions

   were denied by USCIS for failure to establish by a preponderance of the evidence that the Form I-

   526 Petitions complied with the applicable legal requirements.

          164.      USCIS cited the following deficiencies: (1) failure to demonstrate the creation of

   jobs, (2) failure to demonstrate Plaintiffs’ investment had been loaned to Greystone Hotel Miami,

   (3) failure to demonstrate construction was underway at the properties, and (4) failure to

   demonstrate bank loans had been obtained.

          165.      The deficiencies cited by USCIS were a direct result of actions taken and

   documents provided by Greystone EB-5 Partnership, and over which Plaintiffs had absolutely no

   control.

          166.      Because it had become apparent that Defendants’ promises were false and

   Defendants had not adhered to their duties, Plaintiffs demanded the return of their funds.

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           167.    Despite Plaintiffs’ demands, no funds were returned to Plaintiffs.

           168.    Instead, Defendants ceased all communication with Plaintiffs and wrongfully

   retained the Plaintiffs’ investment funds.

       Q. DEFENDANTS’ FRAUD AND THEFT ARE DISCOVERED

           169.    Upon investigation, Plaintiffs discovered the list of Defendants’ fraudulent

   representations made in furtherance of obtaining and stealing Plaintiffs money.

           170.    Greystone EB-5 Partnership was not a legitimate EB-5 project, but rather a façade

   and a vehicle meant only to defraud investors. Defendants used Greystone Partnership to steal at

   least Four Million Dollars ($4,000,000.00) from at least Eight (8) foreign nationals seeking EB-5

   visas and a better life for their families in the United States.

           171.    Plaintiffs discovered that their funds were not held in a true Escrow Account as

   promised, but were in a checking account for the benefit of the Defendants.

           172.    In violation of all written and oral representations, Plaintiffs’ funds were

   immediately transferred from the fraudulent Escrow Account to other accounts controlled by the

   conspirators.

           173.    As the Plaintiffs’ funds were not used in furtherance of the Project, no jobs were

   created, and none of the Plaintiffs were eligible for an EB-5 Visa.

           174.    None of Plaintiffs’ funds were sent to the Project or anyone purportedly associated

   with the development of the Project.

           175.    As described in detail above, most of the representations within the Investment

   Portfolio's offering materials were knowingly false or misleading.

           176.    The One Hundred Percent (100%) guaranty for the return of Plaintiffs’ investment

   and fees in the event their I-526 Petition was denied was knowingly false.


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          177.    The representations that Plaintiffs’ funds would be held in escrow unless and until

   USCIS approved their I-526 applications were knowingly false.

          178.    The representations that Plaintiffs’ funds would be returned within Ninety (90) days

   of denial of their I-526 applications were knowingly false.

          179.    The representations that a maximum of Forty-Four (44) investors in the Greystone

   EB-5 Partnership would be sold were knowingly false.

          180.    The representations that the funds would be exclusively invested in the Greystone

   Hotel to create jobs by helping to finish the renovation and development were knowingly false.

   Virtually none of the funds were used at the project.

          181.    The representations that USREDA guaranteed the approval of any I-526 application

   it completed and that it would return all service fees in the event of denial were knowingly false.

          182.    Plaintiffs’ investigation has revealed that the representations that the developer had

   “invested” $7.7 million of their own equity into the project were misleading and knowingly false.

   In truth, no “equity” was invested by the developer, as they acquired the property with little or no

   cash paid.

          183.    The representations that Plaintiffs’ funds were in addition to an equity investment

   by the developer in excess of $7.7 million and a bank loan in excess of Thirty Million Dollars

   ($30,000,000.00) so that Plaintiffs’ funds constitute less than 34.9% of the project funding were

   knowingly false.

          184.    The representations that a bank had provided funding in excess of Thirty Million

   Dollars ($30,000,000.00) and that the bank had undertaken due diligence on the project prior to

   making the loan were knowingly false. Indeed, there was no bank loan, and no due diligence

   undertaken by any bank.


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          185.    The representations that the funds would create ten (10) full-time jobs for each Five

   Hundred Thousand Dollars ($500,000.00) advanced were knowingly false.

          186.    In fact, the representations that the project was in progress, “very near completion,”

   and would be complete for “Season” of 2016 were knowingly false.

          187.    The representations that the job count for the project was Seven Hundred and Thirty

   (730) jobs were knowingly false.

          188.    The representations that Plaintiffs need not worry if the project will perform and

   meet the rigid standards required by USCIS were knowingly false.

          189.    The representations that Walsh had experience in securities was knowingly false.

          190.    The representations that VOS Hospitality had experience in generating jobs for EB-

   5 related projects was knowingly false.

          191.    The representations that each investor’s investment would be fully secured by the
   real property at issue were knowingly false.

          192.    All of the false representations described herein were made to induce Plaintiffs into

   investing their money. The Loan Documents specifically stated that the loan to Greystone Project

   was dependent on USCIS’ approval of Plaintiffs’ I-526 Petitions.

          193.    As owners and/or managers and/or agents of Greystone EB-5 Partnership, J.

   Vosotas knew that none of Plaintiffs’ funds could be used unless and until Plaintiffs’ I-526 Petitions

   had been approved by USCIS.

          194.    While none of Plaintiffs’ I-526 Petitions were approved, Defendants took Plaintiffs’

   money anyway, further demonstrating their intent to defraud the Plaintiffs.




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          195.      SARC, Walsh, J. Vosotas and United EB5, LLC owed Plaintiffs a fiduciary duty to

   protect their funds, not steal their funds, and not allow their release for use at Greystone Hotel

   Miami unless and until the Plaintiffs’ I-526 Petitions were approved by USCIS.

          196.      Defendants acted with willful, reckless, grossly negligent and malicious intent in

   taking the alleged above actions.

      R. THE “GREYSTONE EB-5 PARTNERSHIP” SCHEME WAS BASED ON A SERIES OF
         FRAUDULENT MISREPRESENTATIONS

         i.      Material Misrepresentations and Omissions to Greystone EB-5 Investors

          197.      Defendants misrepresented the ownership of the Greystone Properties.

          198.      Throughout the Offering Materials, Defendants misrepresented that Greystone

   Hotel Miami either directly owned, or owned the subsidiaries Defendants, Greystone Terra Firma

   and Santa Barbara 230.

          199.      In reality, and as evidenced by multiple mortgages, deeds, and other instruments

   filed with the Miami-Dade Clerk of Court, Defendant, Greystone Hotel Miami held no ownership

   interest in the Greystone Properties.

        ii.      Misrepresentations Regarding Escrow Requirements and the Return of Investor
                 Funds
           200.     From 2014 to 2016, Greystone EB-5 Partnership’s offering materials contained

   material misrepresentations about Greystone Partnership use of an escrow account for investor

   funds. Greystone Partnership falsely and fraudulently claimed that investor funds would be held

   in an escrow account at PNC Bank, pursuant to an escrow agreement between Greystone EB-5

   Partnership, WWB Trust, and PNC Bank, through at least the filing of the investor's 1-526 petition.

   Contrary to these representations, no escrow account even existed for investor funds. Prior to the




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   Greystone offering, the former CFO for SARC and USREDA informed Walsh that the account

   receiving investor funds would not even be administered by PNC Bank.

           201.     Greystone    Partnership’s    offering   materials    also      contained    material

   misrepresentations about the return of funds paid by investors. Greystone Hotel Miami and

   Greystone EB-5 Partnership falsely and fraudulently stated that if an investor's 1-526 petition were

   denied by the USCIS for reasons "within the control" of Greystone Partnership investor's funds

   would be returned without deduction. The offering materials and SARC's own website also falsely,

   fraudulently, and repeatedly stated that investors' funds would be returned.

           202.     Defendants knew or recklessly disregarded that Defendants, Greystone Hotel

   Miami, Greystone EB-5 Partnership, USREDA and SARC would not be able to repay investors

   whose petitions were denied because they misappropriated for their own use, millions of dollars

   of investor funds, and never escrowed investor funds prior to their release to Greystone Project.

           203.     To date, the USCIS has denied all of the investor 1-526 petitions. USCIS denied

   the I-526 petitions because, among other reasons, investors failed to demonstrate that the

   Greystone Hotel project would create sufficient jobs, and failure to prove the investors’ funds had

   been allocated to the development.

           204.     Defendants and their employees orally repeated the misrepresentations.

           205.     Defendants and their employees through electronic messengering services and

   email repeated the misrepresentations.

           206.     Defendants never returned any money to investors.

        iii.     Misrepresentations and Omissions Regarding Defendant, Walsh and the
                 Developer’s Backgrounds
           207.     Defendant,   Greystone       EB-5   Partnership’s    business     plans     contained

   misrepresentations and omissions regarding the backgrounds of Defendants, Walsh and J. Vosotas,

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   who are both described in a section on "Management." The description of Walsh's background,

   which he drafted, stated that he "has extensive experience in merger and acquisition strategy and

   law" and experience with "the intricacies of U.S. Securities and Exchange laws." Walsh did not

   have any such merger and acquisition or securities law experience. This misrepresentation and

   omission is repeated in brochures and other advertisements for the project.

              208.   The offering materials also included a section on J. Vosotas stating VOS Hospitality

   had over Thirty (30) years of hospitality experience and with noted focus on job creation.

        iv.      Other Misrepresentations to the Greystone EB-5 Partnership Investors
              209.   Greystone Partnership’s offering materials also materially misrepresented the

   conditions under which investor funds would be loaned to Greystone Hotel Miami. In particular,

   the PPMs stated, "it shall be a condition of each advance that as of such time there shall not have

   been a material adverse change in the operations, assets or financial condition of the borrower and

   its subsidiaries, taken as a whole."

              210.   The loan documents made similar representations and stated that the determination

   as to material adverse changes would be made by Greystone EB-5 Partnership. Walsh, J. Vosotas,

   and Greystone EB-5 Partnership never ascertained whether Greystone Hotel Miami met these pre-

   conditions for any loan advance. Despite being granted the authority by the loan documents to

   access Greystone Hotel Miami’s financial statements and the right to inspect its books and records,

   Greystone Partnership never exercised this authority.

              211.   The offering materials also materially misrepresented that Greystone EB-5

   Partnership would provide audited financial statements or other financial information to investors

   on an annual or quarterly basis. Greystone EB-5 Partnership never prepared audited financial

   statements and did not provide audited statements, or any other financial reports, to investors.


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          212.      The offering materials also misrepresented that Greystone Hotel Miami would

   make monthly interest payments to Greystone EB-5 Partnership on its loan for five (5) years.

   Greystone Hotel Miami did not make any monthly interest payments to Greystone EB-5

   Partnership.

          213.      In order to bolster investor confidence in Greystone EB-5 Partnership investment

   offering, Greystone’s business plans and brochures also made materially misleading statements

   suggesting that Greystone Hotel Miami had substantial funds at stake in the Greystone Properites,

   and that investor funds were only part of an already well-financed development project. Based on

   information provided in part by J. Vosotas, Greystone EB-5 Partnership’s business plans falsely

   and fraudulently represented that Greystone Project had $7.7 million in equity in the Greystone

   Hotel, and the brochures fraudulently stated the project was "very safe" based in part on a

   substantial equity investment from Greystone Hotel Miami. In reality, the Greystone Properties

   were financially distresses, and J. Vosotas, through his various entities purchased them with limited

   equity. J. Vosotas also failed to disclose the properties were financed with an initial, undisclosed

   Five Million Dollar ($5,000,000.00) mortgage from BBM3 II and BBM3 and no equity from the

   developer.

         v.      Defendants Fraudulently Induced Plaintiff’s to Invest in the Greystone EB-5
                 Partnership
          214.      In reliance on the Offering Documents, the USCIS Approval, the Websites, and the

   oral representations described above, each of the Plaintiffs provided Five Hundred Thousand

   Dollars ($500,000.00) for a limited partnership unit in Greystone Partnership, along with an

   administrative fee of Forty-Five Thousand Dollars ($45,000.00) and legal services fee of Fifteen

   Thousand Dollars ($15,000.00). A true and accurate copy of a Certificate of Limited Partnership

   Interest is attached hereto as Exhibit 18.

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             215.   Each of the Plaintiffs received confirmation that their Five Hundred Thousand

   Dollar ($500,000.00) investment, Forty-Five Thousand Dollars ($45,000.00), Sixty Thousand

   Dollar ($60,000.00) administrative fee, and Fifteen Thousand Dollar ($15,000.00) legal services

   fee had been received.

             216.   In providing their money, Plaintiffs relied upon the representation that there was a

   100% guaranty for the return of their investment and fees in the event their I-526 Petition was

   denied.

             217.   In providing their money, Plaintiffs relied upon the Escrow Representation, and

   understood that their money would be held in escrow unless escrow conditions were met.

             218.   In providing their money, Plaintiffs relied upon the representation that if their I-526

   Petition was denied, their funds would be returned within 90 days.

             219.   In providing their money, Plaintiffs relied upon the representation that only 44

   limited partnership units in Greystone EB-5 Partnership would be offered. This representation was

   material because, if there were too many investors, not enough jobs would be created per investor

   and they would be unable to obtain the EB-5 visas. Further, this information was relied upon in

   calculating each investors’ ability to obtain a return on their investment.

             220.   In providing their money, Plaintiffs relied upon the representation that their funds

   would be exclusively invested in the Greystone Hotel Miami to create jobs by helping to finish the

   renovation and development of the Greystone Hotel.

             221.   In providing their money, Plaintiffs relied upon the representation that Defendant,

   USREDA guaranteed the approval of any I-526 application it completed and that it would return

   all service fees in the event of denial.




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           222.   In providing their money, Plaintiffs relied upon the representation by Defendant,

   United EB-5 that the General Partners had a historic “99%” success rate with I-526 petitions.

           223.   In providing their money, Plaintiffs relied upon the representation that their funds

   were in addition to an equity investment by the developer in excess of $7.7 million and a bank

   loan in excess of Thirty Million Dollar ($30,000,000.00), so that Plaintiffs’ funds constituted less

   than 34.9% of the project’s funding. Plaintiffs relied upon the fact that a bank conducted significant

   due diligence on the viability of the project prior to giving a Thirty Million Dollar ($30,000.00)

   loan.

           224.   In providing their money, Plaintiffs relied upon the representation that their funds

   would be held in escrow, and were not yet needed, because the developer’s investment in excess

   of $7.7 million and a bank loan in excess of Thirty Million Dollars ($30,000.00) were being used

   for construction.

           225.   In providing their money, Plaintiffs relied upon the representation that their funds

   would not be taken from the escrow account, and would not be used, unless and until the

   developer’s investment in excess of $7.7 million and the bank funds in excess of Thirty Million

   Dollars ($30,000.00) had been used at the project.

           226.   In providing their money, Plaintiffs relied upon the representation that a bank had

   provided funding in excess of Thirty Million Dollar ($30,000.00), that these funds were being used

   for ongoing construction at the project, and that a bank had undertaken due diligence on the project.

           227.   In providing their money, Plaintiffs relied upon the representation that their funds

   would be used exclusively to develop the hotel and create at least ten (10) jobs per investor.

           228.   In providing their money, Plaintiffs relied upon the representation that the project

   was in progress, “very near completion,” and would be complete for “the 2016 season”


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           229.    In providing their money, Plaintiffs relied upon the representation that the job count

   for the Greystone Hotel project was 733.7 jobs, while the project needed only Four Hundred and

   Forty-Four (440) jobs.

           230.    In providing their money, Plaintiffs relied upon the representation that they need

   not worry if the project will perform and meet the rigid standards required by the USCIS.

   In providing their money, Plaintiffs relied upon the representation that each investor’s investment

   would be fully secured by the real property at issue.

                  COUNT 1 – Violation of Florida Securities and Investor Protection Act,
                                    Florida Statutes 517.301(1)(a)
                                           (Defendant, Walsh)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230 as

   if fully set forth herein.

           231.    Defendants solicited monies for the purchase and sale of securities in the Greystone

   EB-5 Partnership.

           232.    “Sale” or “sell” means any contract of sale or disposition of any investment,

   security, or interest in a security, for value. With respect to a security or interest in a security, the

   term defined in this subsection does not include preliminary negotiations or agreements between

   an issuer or any person on whose behalf an offering is to be made and any underwriter or among

   underwriters who are or are to be in privity of contract with an issuer. Any security given or

   delivered with, or as a bonus on account of, any purchase of securities or any other thing shall be

   conclusively presumed to constitute a part of the subject of such purchase and to have been offered

   and sold for value. Every sale or offer of a warrant or right to purchase or subscribe to another

   security of the same or another issuer, as well as every sale or offer of a security which gives the




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   holder a present or future right or privilege to convert into another security or another issuer, is

   considered to include an offer of the other security.

          233.       “In an action for rescission [a] purchaser may recover the consideration paid for

   the security or investment, plus interest thereon at the legal rate, less the amount of any income

   received by the purchaser on the security or investment upon tender of the security or investment.”

   Fla. Stat. § 517.211(3).

          234.      On behalf of themselves and Defendants, Greystone EB-5 Partnership and the

   Walsh Entities, Defendants made false representations to Plaintiffs, including: (1) the use of

   investor funds; (2) the use of an escrow account to hold investor funds prior to disbursement to

   Greystone Hotel Miami; (3) the existence of conditions precedent to the advancement of loan

   disbursements to Greystone Hotel Miami; (4) the guaranteed return of investors’ funds of

   Plaintiffs’ I-526 Petitions were denied; (5) Defendant, Walsh and co-conspirators' backgrounds;

   (6) the preparation and periodic disclosure to investors of financial reports; (7) Greystone Hotel

   Miami’s repayment of the loan; (8) Greystone Hotel Miami’s purported ownership of and

   investment in the Greystone Properties; (9) advertisements of Greystone Hotel Miami

   development prior to the commencement of the Greystone EB-5 Partnership offering; and (10) the

   existence of a mortgage, or other security, the investors held through the Greystone EB-5

   Partnership against the Greystone Properties to secure their loan and investment.

          235.      Defendant, Walsh, in connection with the offer, sale or purchase of any investment

   or security, including any security exempted under the provision of Fla. Stat. § 517.051 and

   including any security sold in a transaction exempted under the provision of Fla. Stat. § 517.061:

                 a. Directly or indirectly employed a device, scheme, or artifice and defraud;
                 b. Obtained money by means of untrue statements of material fact;



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                 c. Omitted a material fact necessary in order to make the statements made, in the light
                    of the circumstances under which they were made, not misleading; and
            d.      Engaged in a transaction, practice or course of business which operates or would
                    operate as a fraud or deceit upon the Plaintiffs.
           236.     Defendant, Walsh employed a scheme to defraud Plaintiffs into making an

   investment in Greystone EB-5 Project.

           237.     Defendant, Walsh obtained the Plaintiffs money by means of untrue statements of

   material facts, including the Escrow Representation.

           238.     Defendant, Walsh engaged in transactions, practices and a course of business that

   operated as a fraud on the Plaintiffs.

           239.     Defendant, Walsh acted with scienter, and knew that their representations were

   false, and intended that the Plaintiffs rely upon the representations and be induced by them to

   invest their money into the Greystone Project.

           240.     Defendant, Walsh knew there was no intention to hold the Plaintiffs’ funds in

   escrow unless and until their I-526 applications were approved by USCIS.

           241.     Plaintiffs relied upon the representations of Defendant, Walsh and tendered

   payment to Defendant, Walsh.

           242.     Defendant, Walsh participated directly in making the sale of the Greystone Project

   that resulted in a direct harm to the Plaintiffs.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request that the Court enter judgment in favor of Plaintiffs and against De-

   fendant, JOSEPH WALSH awarding Plaintiffs monetary damages in the amount of the consider-

   ation paid for the investment, plus interest thereon at the legal rate, less the amount of any income


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   received by the Plaintiffs (which is zero); reasonable attorneys’ fees and legal costs pursuant to

   Fla. Stat. §517.211(6) and further relief this Court deems just and proper.

                                            COUNT 2 - Conversion
                                              (Defendant, Walsh)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           243.    Defendant, Walsh’s improper taking and retention of property and investor

   payments which belong to Plaintiffs, gives rise to a claim for conversion in that Defendant, Walsh

   has, without authorization, asserted dominion and control over the funds which are the specifically

   identifiable property of the Plaintiffs and are or were the property of the Plaintiffs and which were

   owned or payable to Plaintiffs.

           244.    Defendant, Walsh’s conversion is inconsistent with Plaintiffs’ rights and ownership

   to said property.

           245.    The payments and property wrongfully converted by Defendant, Walsh is specific

   and identifiable.

           246.    By virtue of Defendant, Walsh’s repeated and continued misappropriation and

   conversion of Plaintiffs’ property, Defendant has caused Plaintiffs substantial damage.

           247.    Plaintiffs have made demands for the return of their property, but the funds have

   not been returned. Moreover, a demand for the return of Plaintiffs’ funds would be futile.

   Defendant, Walsh has been confronted with the fact that he stole and converted Plaintiffs’ property,

   but have failed to return all of the property to Plaintiffs.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

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   Defendant, JOSEPH WALSH, for damages, attorneys’ fees, litigation costs, and for any such other

   and further relief as this Court deems just and proper.

                                         COUNT 3 - Conversion
                                        (Defendants, Walsh Entities)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           248.    The Walsh Entities, Defendants, SARC, WWB TRUST, USREDA, and USREDA

   Holdings’ improper taking and retention of property and investor payments which belong to

   Plaintiffs, gives rise to a claim for conversion in that Defendants, the Walsh Entities have, without

   authorization, asserted dominion and control over the funds which are the specifically identifiable

   property of the Plaintiffs and are or were the property of the Plaintiffs and which were owned or

   payable to Plaintiffs.

           249.    Defendants, SARC, WWB TRUST, USREDA, and USREDA Holdings’

   conversion is inconsistent with Plaintiffs’ rights and ownership to said property.

           250.    The payments and property wrongfully converted by Defendants, SARC, WWB

   TRUST, USREDA, and USREDA Holdings is specific and identifiable.

           251.    By virtue of Defendants, SARC, WWB TRUST, USREDA, and USREDA

   Holdings’ repeated and continued misappropriation and conversion of Plaintiffs’ property,

   Defendants have caused Plaintiffs substantial damage.

           252.    Plaintiffs have made demands for the return of their property, but the funds have

   not been returned. Moreover, a demand for the return of Plaintiffs’ funds would be futile.

           253.    Defendants, SARC, WWB TRUST, USREDA, and USREDA Holdings have been

   confronted with the fact that he stole and converted Plaintiffs’ property, but have failed to return

   all of the property to Plaintiffs.

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           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendants, JOSEPH WALSH, SOUTH ATLANTIC REGIONAL CENTER, LLC, WWB

   TRUST, LLC, USREDA, LLC, and USREDA HOLDINGS, LLC, for damages, attorneys’ fees,

   litigation costs, and for any such other and further relief as this Court deems just and proper.

                                COUNT 4 - Aiding and Abetting Conversion
                                         (Defendant, J. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           254.    Defendants, Walsh, SARC, WWB TRUST, USREDA, and USREDA Holdings

   misappropriated and converted Plaintiffs’ property.

           255.    Defendant, J. Vosotas had speciﬁc knowledge that Plaintiffs’ property was

   converted.

           256.    Defendant, J. Vosotas knew should have known Plaintiffs’ funds were supposed to

   be held in escrow then loaned to Greystone Hotel Miami for the purposes of developing the

   Greystone Properties.

           257.    Defendant, J. Vosotas knew or should have known that Plaintiffs' investment funds

   were never placed in escrow, never loaned to Greystone Hotel Miami, and never used to develop

   the Greystone Properties.

           258.    Defendant, J. Vosotas knew, or should have known, that Walsh had misappropriated

   and converted Plaintiffs’ property.

           259.    Defendant, J. Vosotas through his role as manager of the Vosotas Entities

   (Greystone EB-5 Partnership, United EB5, Greystone Terra Firma, Santa Barbara 230, Greystone

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   Hotel Miami, Greystone Option Holder, VOS Hospitality, VOS Holdings I, Vos Associate, VOS

   CRE I, Greystone Hotel Developer, and Greystone Managing Member, Greystone Tenant) had

   specific knowledge that Plaintiffs’ investment had been misappropriated and converted.

          260.    Defendant, J. Vosotas, as 25% manager/member of the Greystone Properties, had

   ultimate control over the various Vosotas Entities, had specific knowledge that Plaintiffs’

   investment had been misappropriated and converted.

          261.    Defendant, J. Vosotas as a General Partner of Greystone EB-5 LLLP had specific

   knowledge that Plaintiffs’ investment had been misappropriated and converted.

          262.    Defendant, J. Vosotas provided substantial assistance to advance the commission

   of the conversion.

          263.    Defendant, J. Vosotas in a teleconference meeting with Plaintiffs made multiple

   misrepresentations to Plaintiffs including (1) the ownership of the Greystone Properties, (2) the

   existence of a security interest or collateral, (3) the existence of a legitimate escrow account to

   hold Plaintiffs’ funds, and (4) that Plaintiffs, as owners of the Greystone Hotel, could live there for

   free after their EB-5 Visas were approved.

          264.    Defendant, J. Vosotas produced a website that made multiple misrepresentations to

   induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return on investment, (2) a

   99% success rate for visa applications, and (3) the existence of a legitimate escrow account.

          265.     Defendant, J. Vosotas, provided Walsh, the Walsh Entities, and co-conspirators

   fraudulent business plans, mortgages, and loan agreements that made multiple misrepresentations

   including (1) the ownership of the Greystone Properties, (2) the existence of a security on

   Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the project managers’




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   EB-5 experience, (5) the development timeline, and (6) the existence of bank and third-party

   investment in the project.

           266.    Defendant, J. Vosotas partnered with Walsh and represented himself as a project

   manager in the Greystone Project’s advertisements and the Offering Materials.

           267.    In conclusion, Defendant, J. Vosotas, knowingly aided and abetted the conversion

   of Plaintiffs’ EB-5 investment. Defendant, J. Vosotas substantially assisted or enabled the

   conversion of Plaintiffs’ EB-5 investment monies.

           268.    Plaintiffs were severely damaged by the actions of Defendant, J. Vosotas

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, JAMES VOSOTAS for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                COUNT 5 - Aiding and Abetting Conversion
                                        (Defendant, D. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           269.    Defendants, Walsh, Walsh Jr., the Walsh Entities, and co-conspirators theft and

   misappropriation of Plaintiffs’ investment shows the existence of an Underlying Conversion.

   Defendants, Walsh, SARC, WWB TRUST, USREDA, and USREDA Holdings misappropriated

   and converted Plaintiffs’ property.

           270.    Defendant, D. Vosotas had speciﬁc knowledge that Plaintiffs’ property was

   converted.



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          271.    Defendant, D. Vosotas knew should have known Plaintiffs’ funds were supposed

   to be held in escrow then loaned to Greystone Hotel Miami for the purposes of developing the

   Greystone Properties.

          272.    Defendant, D. Vosotas knew or should have known that Plaintiffs' investment funds

   were never placed in escrow, never loaned to Greystone Hotel Miami, and never used to develop

   the Greystone Properties.

          273.    Defendant, D. Vosotas knew, or should have known, that Walsh had

   misappropriated and converted Plaintiffs’ property.

          274.    Defendant, D. Vosotas through his role as manager of the Vosotas Entities (Trans

   Inn Associates, VOS Holdings, and VOS CRE I) had specific knowledge that Plaintiffs’ investment

   had been misappropriated and converted.

          275.    Defendant, D. Vosotas as 25% manager/member of the Greystone Properties, had

   ultimate control over the various Vosotas Entities, had specific knowledge that Plaintiffs’

   investment had been misappropriated and converted.

          276.    Defendant, D. Vosotas provided substantial assistance to advance the commission

   of the conversion.

          277.    Defendant, D. Vosotas, or his authorized agents, met with Plaintiffs to discuss their

   potential investment in the Greystone Project. Representations made by Defendant, D. Vostoas

   and/or his agents gave credibility to Defendant, Walsh and the Greystone Project.

          278.    Defendant, D. Vosotas produced a website that made multiple misrepresentations

   to induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return on investment, (2) a

   99% success rate for visa applications, and (3) the existence of a legitimate escrow account.




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           279.      Defendant, D. Vosotas, provided Walsh, the Walsh Entities, and co-conspirators

   fraudulent business plans, mortgages, and loan agreements that made multiple misrepresentations

   including (1) the ownership of the Greystone Properties, (2) the existence of a security on

   Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the project managers’

   EB-5 Experience, (5) the development timeline, and (6) the existence of bank and third-party

   investment in the project.

           280.     Defendant, D. Vosotas partnered with Walsh and represented himself as a project

   manager in the Greystone Project’s advertisements and the Offering Materials. Defendant, D.

   Vosotas’s reputation, as a purported experienced developer and manager of hotels in the Miami

   Florida market was essential in giving Walsh credibility in the EB-5 offering.

           281.    Defendant, D. Vosotas, knowingly aided and abetted the conversion of Plaintiffs’

   EB-5 investment. Defendant, D. Vosotas substantially assisted or enabled the conversion of

   Plaintiffs’ EB-5 investment monies.

           282.    Plaintiffs were severely damaged by the actions of Defendant, D. Vosotas.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, DANIEL VOSOTAS, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                COUNT 6 - Aiding and Abetting Conversion
                                           (Defendant, Muhl)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.



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          283.    Defendants, Walsh, Walsh Jr., the Walsh Entities, and co-conspirators theft and

   misappropriation of Plaintiffs’ investment shows the existence of an Underlying Conversion.

   Defendants, Walsh, SARC, WWB TRUST, USREDA, and USREDA Holdings misappropriated

   and converted Plaintiffs’ property.

          284.    Defendant, Muhl had speciﬁc knowledge that Plaintiffs’ property was converted.

          285.    Defendant, Muhl knew should have known Plaintiffs’ funds were supposed to be

   held in escrow then loaned to Greystone Hotel Miami for the purposes of developing the Greystone

   Properties.

          286.    Defendant, Muhl knew or should have known that Plaintiffs' investment funds were

   never placed in escrow, never loaned to Greystone Hotel Miami, and never used to develop the

   Greystone Properties.

          287.    Defendant, Muhl knew, or should have known, that Walsh had misappropriated and

   converted Plaintiffs’ property.

          288.    Defendant, Muhl through his role as manager of the Vosotas Entities (Greystone

   Terra Firma, Greystone Hotel Developer, Greystone Managing Member, and Greystone Tenant)

   had specific knowledge that Plaintiffs’ investment had been misappropriated and converted.

          289.    Defendant, Muhl as 50% manager/member of the Greystone Properties, had

   ultimate control over the various Vosotas Entities, had specific knowledge that Plaintiffs’

   investment had been misappropriated and converted.

          290.    Defendant, Muhl provided substantial assistance to advance the commission of the

   conversion.

          291.     Defendant, Muhl through the Muhl Entities (BBM3 and BBM3 II) provided the

   initial funding to purchase the Greystone Properties.


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          292.     Defendant, Muhl traveled to China and Hong Kong to advertise EB-5 projects,

   including the Greystone Project.

          293.     Defendant, Muhl delayed in filing various mortgages, notices, and lease

   agreements in regards to the Greystone Properties. The only reasonable explanation for this delay

   was to prevent public disclosure, and Plaintiffs’ discovery of true ownership structure of the

   Greystone Properties.

          294.    Defendant, Muhl produced a website that made multiple misrepresentations to

   induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return on investment, (2) a

   99% success rate for visa applications, and (3) the existence of a legitimate escrow account.

          295.     Defendant, Muhl provided Walsh, the Walsh Entities, and co-conspirators

   fraudulent business plans, mortgages, and loan agreements that made multiple misrepresentations

   including (1) the ownership of the Greystone Properties, (2) the existence of a security on

   Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the project managers’

   EB-5 Experience, (5) the development timeline, and (6) the existence of bank and third-party

   investment in the project.

          296.    Defendant, Muhl, knowingly aided and abetted the conversion of Plaintiffs’ EB-5

   investment. Defendant, Muhl substantially assisted or enabled the conversion of Plaintiffs’ EB-5

   investment monies.

          297.    Plaintiffs were severely damaged by the actions of Defendant, Muhl.

          WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against




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   Defendant, BRANDEN MUHL, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                COUNT 7 - Aiding and Abetting Conversion
                                     (Defendants, Vosotas Entities)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           298.    Defendants, Walsh, Walsh Jr., the Walsh Entities, and co-conspirators theft and

   misappropriation of Plaintiffs’ investment shows the existence of an Underlying Conversion.

   Defendants, Walsh, SARC, WWB TRUST, USREDA, and USREDA Holdings misappropriated

   and converted Plaintiffs’ property.

           299.    Defendants, Vosotas Entities (Greystone Hotel Miami, United EB5, Santa Barbara

   230, Greystone Terra Firma, VOS Holdings I, VOS CRE I, Greystone Hospitality, Greystone

   Holdco, Greystone Managing Member, Greystone Master Tenant, Greystone Tenant, Greystone

   Option Holder, Trans Inns Associates, VOS Hospitality, and Greystone Managing Member) had

   Speciﬁc Knowledge that Plaintiffs’ property was Converted.

           300.    Defendants, Vosotas Entities knew should have known Plaintiffs’ funds were

   supposed to be held in escrow then loaned to Greystone Hotel Miami for the purposes of

   developing the Greystone Properties.

           301.    Defendants, Vosotas Entities knew or should have known that Plaintiffs' investment

   funds were never placed in escrow, never loaned to Greystone Hotel Miami, and never used to

   develop the Greystone Properties.

           302.    Defendants, Vosotas Entities knew, or should have known, that Walsh had

   misappropriated and converted Plaintiffs’ property.



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          303.    Defendants, Vosotas Entities agreed to develop the Greystone Project and EB-5

   partnership with Walsh. Defendants, Vosotas Entities were the legally authorized recipients of

   Plaintiffs’ investment to develop the Greystone Properties. As such, the Vosotas Entities had

   specific knowledge the investment was never received and none of Plaintiffs’ funds were used to

   develop the property. Defendants, Vosotas Entities knew, or should have known, Plaintiffs’

   property had been misappropriated and converted by Walsh.

          304.    Defendants, Vosotas Entities provided substantial assistance to advance the

   commission of the conversion.

          305.    Defendants, Vosotas      Entities produced a website that made multiple

   misrepresentations to induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return

   on investment, (2) a 99% success rate for visa applications, and (3) the existence of a legitimate

   escrow account.

          306.    Defendants, Vosotas Entities provided Defendants, Walsh, the Walsh Entities, and

   co-conspirators fraudulent business plans, mortgages, and loan agreements that made multiple

   misrepresentations including (1) the ownership of the Greystone Properties, (2) the existence of a

   security on Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the

   project managers’ EB-5 Experience, (5) the development timeline, and (6) the existence of bank

   and third-party investment in the project.

          307.    Defendants, Vosotas Entities, knowingly aided and abetted the conversion of

   Plaintiffs’ EB-5 investment. Defendants, Vosotas Entities substantially assisted or enabled the

   conversion of Plaintiffs’ EB-5 investment monies.

          308.    Plaintiffs were severely damaged by the actions of the Vosotas Entities.




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           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendants, GREYSTONE HOTEL MIAMI, UNITED EB5, LLC, SANTA BARBARA 230,

   LLC, GREYSTONE TERRA FIRMA, LLC, VOS HOLDINGS I, LLC, VOS CRE I, LLC,

   GREYSTONE HOSPITALITY,                LLC,    GREYSTONE HOLDCO,               LLC, GREYSTONE

   MANAGING MEMBER, LLC, GREYSTONE MASTER TENANT, LLC,                                   GREYSTONE

   TENANT, LLC, GREYSTONE OPTION HOLDER, LLC, TRANS INNS ASSOCIATES, VOS

   HOSPITALITY, LLC and GREYSTONE MANAGING MEMBER, LLC for damages, attorneys’

   fees, litigation costs, and for any such other and further relief as this Court deems just and proper.

                                COUNT 8 - Aiding and Abetting Conversion
                                          (Defendant, Ramirez)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           309.    Defendants, Walsh, Walsh Jr., the Walsh Entities, and co-conspirators theft and

   misappropriation of Plaintiffs’ investment shows the existence of an Underlying Conversion.

   Defendants, Walsh, SARC, WWB TRUST, USREDA, and USREDA Holdings misappropriated

   and converted Plaintiffs’ property.

           310.    Defendant, Ramirez had speciﬁc knowledge that Plaintiffs’ property was

   Converted.

           311.     Defendant, Ramirez knew that Defendant, Walsh created the Fake Escrow Account

   to avoid the standard banking policies and procedures associated with legitimate escrow accounts.

   Defendant, Ramirez knew, or should have known, Defendant, Walsh sought to avoid standard

   escrow requirements to assist in the conversion of Plaintiffs’ funds.

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          312.    Defendant, Ramirez, as a result of all the information that was provided by

   Defendants, Walsh and the Walsh Entities, via Reitz, regarding both the SunTrust escrow account

   and the intended use of the account they wished to open at PNC, combined with PNC’s knowledge

   of the EB-5 program, had speciﬁc knowledge or should have known that Plaintiffs had been

   fraudulently induced into investing in the Project.

          313.    Defendant, Ramirez, as a Vice President of PNC and as a result of receiving

   multiple wires transfers referencing an “Escrow Account” had specific knowledge or should have

   known that Plaintiffs’ had been defrauded and wrongfully believed they were placing their funds

   in an escrow account.

          314.    Defendant, Ramirez, as a Vice President of PNC and as a result of witnessing Walsh

   immediately transfer funds from the “Escrow Account” to Defendant, Walsh’s second holding

   account at PNC, had specific knowledge or should have known that Plaintiffs’ funds had been

   converted.

          315.    Defendant, Ramirez provided substantial assistance to advance the commission of

   the conversion.

          316.    Defendant, Ramirez assisted Defendant, Walsh in creating the Fake Escrow

   Account.

          317.    Defendant, Ramirez offered, created and implemented the Fake Escrow Account,

   he knew that the Defendants, Walsh, the Walsh Entities, and co-conspirators were holding

   Plaintiffs EB-5 investment funds in a checking account fraudulently represented as an escrow

   account. Ramirez also knew Plaintiffs had made substantial transferred to a named “Escrow

   Account” which was in fact a business checking account and those funds were immediately

   transferred to Defendant, Walsh’s holding account with PNC bank, without a requirement to follow


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   any terms of a PNC escrow agreement. Under these particular circumstances, Defendant, Ramirez

   and PNC’s failure to warn Plaintiffs or stop Defendants, Walsh, the Walsh Entities, and co-

   conspirators’ conversions is providing substantial assistance.

           318.      Defendant, Ramirez therefore knowingly aided and abetted in the conversion of

   Plaintiffs’ funds. Ramirez substantially assisted or enabled the conversion of Plaintiffs’ EB-5

   investment monies from the Fake Escrow Account.

           319.    Plaintiffs were severely damaged by the actions of Defendant, Ramirez.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

   Defendant, RUBEN RAMIERZ, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                COUNT 9 - Aiding and Abetting Conversion
                                           (Defendant, PNC)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           320.    Defendants, Walsh, Walsh Jr., the Walsh Entities, and co-conspirators theft and

   misappropriation of Plaintiffs’ investment shows the existence of an Underlying Conversion.

   Defendants, Walsh, SARC, WWB TRUST, USREDA, and USREDA Holdings misappropriated

   and converted Plaintiffs’ property.

           321.    Defendant, PNC had speciﬁc knowledge that Plaintiffs’ property was converted.

           322.    Defendant, PNC knew Walsh created the Fake Escrow Account to avoid the

   standard banking policies and procedures associated with legitimate escrow accounts. Defendant,



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   PNC knew, or should have known, Defendant, Walsh sought to avoid standard escrow

   requirements to assist in the conversion of Plaintiffs’ funds.

          323.    Defendant, PNC, as a result of all the information that was provided by Defendants,

   Walsh and the Walsh Entities, via Reitz, regarding both the SunTrust escrow account and the

   intended use of the account they wished to open at PNC, combined with PNC’s knowledge of the

   EB-5 program, had speciﬁc knowledge or should have known that Plaintiffs had been fraudulently

   induced into investing in the Project.

          324.    Defendant, PNC, as a result of receiving multiple wires transfers referencing an

   “Escrow Account,” had specific knowledge or should have known that Plaintiffs’ had been

   defrauded and wrongfully believed they were placing their funds in an escrow account.

          325.    Defendant, PNC, as a result of witnessing Defendant, Walsh immediately transfer

   funds from the “Escrow Account” to Walsh’s second holding account at PNC, had specific

   knowledge or should have known that Plaintiffs’ funds had been converted.

          326.    Defendant, PNC provided substantial assistance to advance the commission of the

   conversion.

          327.    Defendant, PNC assisted Defendant, Walsh in creating the Fake Escrow Account.

          328.    Defendant, PNC offered, created and implemented the fake escrow account, they

   knew that Defendants, Walsh, the Walsh Entities, and co-conspirators were holding Plaintiffs EB-

   5 investment funds in a checking account fraudulently represented as an escrow account. PNC also

   knew Plaintiffs had made substantial transferred to a named “Escrow Account” which was in fact

   a business checking account and those funds were immediately transferred to Walsh’s holding

   account with PNC bank, without a requirement to follow any terms of a PNC escrow agreement.

   Under these particular circumstances, Defendants, Ramirez and PNC’s failure to warn Plaintiffs


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   or stop Defendants, Walsh, the Walsh Entities, and co-conspirators’ conversions is providing

   substantial assistance.

           329.       Defendant, PNC therefore knowingly aided and abetted in the conversion of

   Plaintiffs’ funds. PNC substantially assisted or enabled the conversion of Plaintiffs’ EB-5

   investment monies from the Fake Escrow Account.

           330.       Plaintiffs were severely damaged by the actions of Defendant, PNC.

       WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING HUI,

   JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN ZHANG,

   respectfully request that the Court enter judgment in favor of Plaintiffs and against Defendant,

   PNC BANK, N.A., for damages, attorneys’ fees, litigation costs, and for any such other and further

   relief as this Court deems just and proper.

                                     COUNT 10 - Fraud in the Inducement
                                            (Defendant, Walsh)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           331.       Using false statements that Plaintiffs’ funds would be solely for the investment into

   the EB-5 Project, DefendantWalsh induced Plaintiffs to enter into agreements and transfer funds

   based on the following false statements:

                 a. the use of investor funds;
                 b. the use of an escrow account to hold investor funds prior to disbursement to
                      Greystone Project;
                 c.   the existence of conditions precedent to the advancement of loan disbursements to
                      Greystone Project;
                 d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
                 e. Defendants’ backgrounds;
                 f. the preparation and periodic disclosure to investors of financial reports;
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                 g. Greystone Project’s repayment of the loan; and
                 h.   Greystone Project’s purported ownership of and investment in the Greystone Hotel
                 i. The underlining Greystone Properties prior to the commencement of the EB-5
                      Greystone Partnership offering.
                 j. The existence of a mortgage, or other security, the investors held through the
                      Greystone Partnership against the Greystone Properties to secure their loan and
                      investment.
          332.        Defendant, Walsh after falsely leading Plaintiffs to believe that their investments

   would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to transfer funds

   into the fake PNC escrow account.

          333.        Knowing that his statements were false, Defendant Walsh intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.

          334.        Plaintiffs justifiably relied on Defendant Walsh’s representations and transferred all

   required payments.

          335.        Defendant, Walsh however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendant return Plaintiffs’ funds when

   Plaintiffs’ I-526 Petitions were denied.

          336.        In justifiable reliance on Defendant Walsh’s representations, Plaintiffs have

   suffered damages.

          WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant JOSEPH WALSH, for damages, attorneys’ fees, litigation costs, and for any such other

   and further relief as this Court deems just and proper.




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                                     COUNT 11 - Fraud in the Inducement
                                          (Defendant, J. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           337.       Using false statements that Plaintiffs’ funds would be solely for the investment into

   the EB-5 Project, Defendant J. Vosotas induced Plaintiffs to enter into agreements and transfer

   funds based on the following false statements:

                 a. the use of investor funds;
                 b. the use of an escrow account to hold investor funds prior to disbursement to
                      Greystone Project;
                 c.   the existence of conditions precedent to the advancement of loan disbursements to
                      Greystone Project;
                 d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
                 e. Defendants’ backgrounds;
                 f. the preparation and periodic disclosure to investors of financial reports;
                 g. Greystone Project’s repayment of the loan; and
                 h.   Greystone Project’s purported ownership of and investment in the Greystone Hotel
                 i. The underlining Greystone Properties prior to the commencement of the EB-5
                      Greystone Partnership offering.
                 j. The existence of a mortgage, or other security, the investors held through the
                      Greystone Partnership against the Greystone Properties to secure their loan and
                      investment.
           338.       Defendant, J. Vosotas after falsely leading Plaintiffs to believe that their

   investments would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to

   transfer funds into the fake PNC escrow account.

           339.       Knowing that his statements were false, Defendant J. Vosotas intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.



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           340.       Plaintiffs justifiably relied on Defendant, J. Vosotas’ representations and transferred

   all required payments.

           341.       Defendant, J. Vosotas however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendant return Plaintiffs’ funds when

   Plaintiffs’ I-526 Petitions were denied.

           342.       In justifiable reliance on Defendant J. Vosotas’ representations, Plaintiffs have

   suffered damages.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, JAMES VOSOTAS for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                                     COUNT 12 - Fraud in the Inducement
                                          (Defendant, D. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           343.       Using false statements that Plaintiffs’ funds would be solely for the investment into

   the EB-5 Project, Defendant D. Vosotas induced Plaintiffs to enter into agreements and transfer

   funds based on the following false statements:

                 a. the use of investor funds;
                 b. the use of an escrow account to hold investor funds prior to disbursement to
                      Greystone Project;
                 c.   the existence of conditions precedent to the advancement of loan disbursements to
                      Greystone Project;
                 d. the guaranteed return of investors' funds if their I-526 Petitions were denied;


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                 e. Defendants’ backgrounds;
                 f. the preparation and periodic disclosure to investors of financial reports;
                 g. Greystone Project’s repayment of the loan; and
                 h.   Greystone Project’s purported ownership of and investment in the Greystone Hotel
                 i. The underlining Greystone Properties prior to the commencement of the EB-5
                      Greystone Partnership offering.
                 j. The existence of a mortgage, or other security, the investors held through the
                      Greystone Partnership against the Greystone Properties to secure their loan and
                      investment.
          344.        Defendant, D. Vosotas after falsely leading Plaintiffs to believe that their

   investments would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to

   transfer funds into the fake PNC escrow account.

          345.        Knowing that his statements were false, Defendant D. Vosotas intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.

          346.        Plaintiffs justifiably relied on Defendant D. Vosotas’ representations and transferred

   all required payments.

          347.        Defendant, D. Vosotas however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendant return Plaintiffs’ funds when

   Plaintiffs’ I-526 Petitions were denied.

          348.        In justifiable reliance on Defendant D. Vosotas’ representations, Plaintiffs have

   suffered damages.

          WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, DANIEL VOSOTAS, for damages, litigation costs, and for any such other and further

   relief as this Court deems just and proper.
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                                     COUNT 13 - Fraud in the Inducement
                                            (Defendant, Muhl)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           349.       Using false statements that Plaintiffs’ funds would be solely for the investment into

   the EB-5 Project, Defendant Muhl induced Plaintiffs to enter into agreements and transfer funds

   based on the following false statements:

                 a. the use of investor funds;
                 b. the use of an escrow account to hold investor funds prior to disbursement to
                      Greystone Project;
                 c.   the existence of conditions precedent to the advancement of loan disbursements to
                      Greystone Project;
                 d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
                 e. Defendants’ backgrounds;
                 f. the preparation and periodic disclosure to investors of financial reports;
                 g. Greystone Project’s repayment of the loan; and
                 h.   Greystone Project’s purported ownership of and investment in the Greystone Hotel
                 i. The underlining Greystone Properties prior to the commencement of the EB-5
                      Greystone Partnership offering.
                 j. The existence of a mortgage, or other security, the investors held through the
                      Greystone Partnership against the Greystone Properties to secure their loan and
                      investment.
           350.       Defendant, Muhl after falsely leading Plaintiffs to believe that their investments

   would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to transfer funds

   into the fake PNC escrow account.

           351.       Knowing that his statements were false, Defendant Muhl intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.



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           352.       Plaintiffs justifiably relied on Defendant Muhl’s representations and transferred all

   required payments.

           353.       Defendant Muhl however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendant return Plaintiffs’ funds when

   Plaintiffs’ I-526 Petitions were denied.

           354.       In justifiable reliance on Defendant Muhl’s representations, Plaintiffs have suffered

   damages.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, BRANDEN MUHL, for damages, litigation costs, and for any such other and further

   relief as this Court deems just and proper.

                                     COUNT 14 - Fraud in the Inducement
                                        (Defendants, Vosotas Entities)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           355.       Using false statements that Plaintiffs’ funds would be solely for the investment into

   the EB-5 Project, the Vosotas Entities induced Plaintiffs to enter into agreements and transfer funds

   based on the following false statements:

                 a. the use of investor funds;
                 b. the use of an escrow account to hold investor funds prior to disbursement to
                      Greystone Project;
                 c.   the existence of conditions precedent to the advancement of loan disbursements to
                      Greystone Project;
                 d. the guaranteed return of investors' funds if their I-526 Petitions were denied;


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                 e. Defendants’ backgrounds;
                 f. the preparation and periodic disclosure to investors of financial reports;
                 g. Greystone Project’s repayment of the loan; and
                 h.   Greystone Project’s purported ownership of and investment in the Greystone Hotel
                 i. The underlining Greystone Properties prior to the commencement of the EB-5
                      Greystone Partnership offering.
                 j. The existence of a mortgage, or other security, the investors held through the
                      Greystone Partnership against the Greystone Properties to secure their loan and
                      investment.
          356.        The Vosotas Entities, after falsely leading Plaintiffs to believe that their investments

   would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to transfer funds

   into the fake PNC escrow account.

          357.        Knowing that his statements were false, the Vosotas Entities intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.

          358.        Plaintiffs justifiably relied on the Vosotas Entities’ representations and transferred

   all required payments.

          359.        The Vosotas Entities however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendants return Plaintiffs’ funds

   when Plaintiffs’ I-526 Petitions were denied.

          360.        In justifiable reliance on the Vosotas Entities’ representations, Plaintiffs have

   suffered damages.

          WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendants, GREYSTONE HOTEL MIAMI, UNITED EB5, LLC, SANTA BARBARA 230,

   LLC, GREYSTONE TERRA FIRMA, LLC, VOS HOLDINGS I, LLC, VOS CRE I, LLC,
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   GREYSTONE HOSPITALITY,                  LLC,    GREYSTONE HOLDCO,               LLC,    GREYSTONE

   MANAGING MEMBER, LLC, GREYSTONE MASTER TENANT, LLC,                                     GREYSTONE

   TENANT, LLC, GREYSTONE OPTION HOLDER, LLC, TRANS INNS ASSOCIATES, VOS

   HOSPITALITY, LLC and GREYSTONE MANAGING MEMBER, LLC, for damages, litigation

   costs, and for any such other and further relief as this Court deems just and proper.

                                     COUNT 15 - Fraud in the Inducement
                                        (Defendants, Walsh Entities)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           361.       Using false statements that Plaintiffs’ funds would be solely for the investment into

   the EB-5 Project, the Walsh Entities induced Plaintiffs to enter into agreements and transfer funds

   based on the following false statements:

                 a. the use of investor funds;
                 b. the use of an escrow account to hold investor funds prior to disbursement to
                      Greystone Project;
                 c.   the existence of conditions precedent to the advancement of loan disbursements to
                      Greystone Project;
                 d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
                 e. Defendants’ backgrounds;
                 f. the preparation and periodic disclosure to investors of financial reports;
                 g. Greystone Project’s repayment of the loan; and
                 h.   Greystone Project’s purported ownership of and investment in the Greystone Hotel
                 i. The underlining Greystone Properties prior to the commencement of the EB-5
                      Greystone Partnership offering.
                 j. The existence of a mortgage, or other security, the investors held through the
                      Greystone Partnership against the Greystone Properties to secure their loan and
                      investment.


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           362.    The Walsh Entities after falsely leading Plaintiffs to believe that their investments

   would be for the sole purpose of the Greystone EB-5 Project, instructed Plaintiffs to transfer funds

   into the fake PNC escrow account.

           363.    Knowing that his statements were false, the Walsh Entities intended for the

   representations to induce Plaintiffs to rely on them and transfer the money.

           364.    Plaintiffs justifiably relied on the Walsh Entities’ representations and transferred all

   required payments.

           365.    The Walsh Entities however, did not hold Plaintiffs’ funds in escrow nor invest

   Plaintiffs’ funds into any legitimate EB-5 program, nor did Defendants return Plaintiffs’ funds

   when Plaintiffs’ I-526 Petitions were denied.

           366.    In justifiable reliance on the Walsh Entities’ representations, Plaintiffs have suffered

   damages.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendants, SOUTH ATLANTIC REGIONAL CENTER, LLC, WWB TRUST, LLC, USREDA,

   LLC, USREDA HOLDINGS, LLC, for damages, litigation costs, and for any such other and

   further relief as this Court deems just and proper.

                        COUNT 16 - Aiding and Abetting Fraud in the Inducement
                                      (Defendant, Ruben Ramirez)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           367.    Defendants, Walsh, Walsh Jr., the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas

   Entities, Muhl, and Muhl Entities and their agents knew that their representations were false and

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   intended the Plaintiffs to rely upon the representations and induced by them to invest their money

   into Greystone EB-5 Partnership.

          368.    Defendant, Ramirez had speciﬁc knowledge that Plaintiffs’ had been defrauded.

          369.    Defendant, Ramirez knew Defendant, Walsh created the Fake Escrow Account to

   avoid the standard banking policies and procedures associated with legitimate escrow accounts.

   Defendant, Ramirez knew, or should have known, Defendant, Walsh sought to avoid standard

   escrow requirements to assist in the defrauding Plaintiffs’ into believing they were placing their

   funds into a legitimate escrow account.

          370.    Ramirez, as a result of all the information that was provided by Walsh and the Walsh

   Entities, via Reitz, regarding both the SunTrust escrow account and the intended use of the account

   they wished to open at PNC, combined with PNC’s knowledge of the EB-5 program, had speciﬁc

   knowledge or should have known that Plaintiffs had been fraudulently induced into investing in

   the Project.

          371.    Ramirez, as a Vice President of PNC and as a result of receiving multiple wires

   transfers referencing an “Escrow Account” had specific knowledge or should have known that

   Plaintiffs’ had been defrauded and wrongfully believed they were placing their funds in an escrow

   account.

          372.    Ramirez, as a Vice President of PNC and as a result of witnessing Walsh

   immediately transfer funds from the “Escrow Account” to Walsh’s second holding account at PNC,

   had specific knowledge or should have known that Plaintiffs’ had been defrauded.

          373.    Ramirez provided substantial assistance to advance the fraudulent inducement.

          374.    Ramirez assisted Walsh in creating the Fake Escrow Account.




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           375.    Ramirez offered, created and implemented the fake escrow account, he knew that

   the Walsh, the Walsh Entities, and co-conspirators were holding Plaintiffs EB-5 investment funds

   in a checking account fraudulently represented as an escrow account. Ramirez also knew Plaintiffs

   had made substantial transferred to a named “Escrow Account” which was in fact a business

   checking account and those funds were immediately transferred to Walsh’s holding account with

   PNC bank, without a requirement to follow any terms of a PNC escrow agreement. Under these

   particular circumstances, Ramirez and PNC’s failure to warn Plaintiffs or stop the Walsh, the Walsh

   Entities, and co-conspirators’ fraud is providing substantial assistance.

           376.    Ramirez therefore knowingly aided and abetted in the inducement. Ramirez

   substantially assisted or enabled the inducement of fraud by convincing Plaintiffs’ their EB-5

   investment had been placed in a legitimate escrow account.

           377.    Plaintiffs were severely damaged by the actions of Ramirez.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, RUBEN RAMIREZ for damages, litigation costs, and for any such other and further

   relief as this Court deems just and proper.

                        COUNT 17 - Aiding and Abetting Fraud in the Inducement
                                          (Defendant, PNC)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           378.    Defendants, Walsh, the Walsh Entities, D. Vosotas, J. Vosotas, Vosotas Entities,

   Muhl, and Muhl Entities and their agents knew that their representations were false and intended



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   the Plaintiffs to rely upon the representations and be induced by them to invest their money into

   Greystone EB-5 Partnership.

          379.    Defendant, PNC had speciﬁc knowledge that Plaintiffs’ had been defrauded.

          380.    Defendant, PNC knew Defendant, Walsh created the Fake Escrow Account to avoid

   the standard banking policies and procedures associated with legitimate escrow accounts.

   Defendant, PNC knew, or should have known, Defendant, Walsh sought to avoid standard escrow

   requirements to assist in the conversion of Plaintiffs’ funds in the defrauding Plaintiffs’ into

   believing they were placing their funds into a legitimate escrow account.

          381.    Defendant, PNC, as a result of all the information that was provided by Defendants,

   Walsh and the Walsh Entities, Via Reitz, regarding both the SunTrust escrow account and the

   intended use of the account they wished to open at PNC, combined with PNC’s knowledge of the

   EB-5 program, had speciﬁc knowledge or should have known that Plaintiffs had been fraudulently

   induced into investing in the Project.

          382.    As a result of receiving multiple wires transfers referencing an “Escrow Account”,

   Defendant, PNC had specific knowledge or should have known that Plaintiffs’ had been defrauded

   and wrongfully believed they were placing their funds in an escrow account.

          383.    Defendant, PNC as a result of witnessing Defendant Walsh immediately transfer

   funds from the “Escrow Account” to Walsh’s second holding account at PNC, had specific

   knowledge or should have known that Plaintiffs’ had been defrauded.

          384.    Defendant, PNC provided substantial assistance to advance the fraudulent

   inducement.

          385.    Defendant, PNC assisted Defendant Walsh in creating the Fake Escrow Account.




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           386.    Defendant, PNC offered, created and implemented the fake escrow account, it knew

   that Defendants, Walsh, the Walsh Entities, and co-conspirators were holding Plaintiffs EB-5

   investment funds in a checking account fraudulently represented as an escrow account. Defendant,

   PNC also knew Plaintiffs had made substantial transferred to a named “Escrow Account” which

   was in fact a business checking account and those funds were immediately transferred to

   Defendants, Walsh’s holding account with PNC bank, without a requirement to follow any terms

   of a PNC escrow agreement. Under these particular circumstances, Defendants, PNC and

   Ramirez’s failure to warn Plaintiffs or stop Defendants, Walsh, the Walsh Entities, and co-

   conspirators’ fraud is providing substantial assistance.

           387.     Defendant, PNC therefore knowingly aided and abetted in the inducement.

   Defendant, PNC substantially assisted or enabled the inducement of fraud by convincing Plaintiffs’

   their EB-5 investment had been placed in a legitimate escrow account.

           388.    Plaintiffs were severely damaged by the actions of PNC.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, PNC BANK, N.A., for damages, litigation costs, and for any such other and further

   relief as this Court deems just and proper.

                                  COUNT 18 - Breach of Fiduciary Duty
                                     (Defendants, Walsh and SARC)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.




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           389.    Defendants, Walsh and SARC owed Plaintiffs a fiduciary duty and other implied

   duties arising from their service as general partners or persons purporting to act as general partners

   Defendant, Greystone EB-5 Partnership, including the duties of loyalty and care.

           390.    Moreover, Plaintiffs reposed their trust and confidence in Defendants, Walsh and

   SARC which they accepted. Plaintiffs were dependent on Defendants, United EB5, SARC, Walsh,

   and J. Vosotas and their purported expertise in the United States EB-5 visa program, and

   Defendants knowingly undertook and accepted the duty to advise, counsel, and protect Plaintiffs.

           391.    Defendants, Walsh and SARC’s duty of loyalty included the duty to account and

   hold as trustee any property derived by the general partner in the conduct of the limited

   partnership’s activities.

           392.    Defendants, Walsh and SARC had a duty to refrain from engaging in grossly

   negligent or reckless conduct, intentional misconduct, or a knowing violation of law.

           393.    Defendants, Walsh and SARC’s duty of loyalty included the duty to follow material

   terms of the partnership agreement, which would have revealed Defendant’s fraud, such as

   providing annual financial statements.

           394.    Defendants, Walsh and SARC by stealing and/or allowing Plaintiffs’ funds to be

   stolen from the Escrow Account, in derogation of the written and oral representations that the funds

   would be held in escrow pending USCIS’ approval of Plaintiffs’ I-526 applications, breached their

   fiduciary duties to Plaintiffs.

           395.    Defendants, Walsh and SARC by concealing material facts about the Greystone

   project and breached their fiduciary duties to Plaintiffs.

           396.    Defendants, Walsh and SARC breach of their fiduciary duties have caused Plaintiffs

   substantial damage.


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             WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, JOSEPH WALSH and SOUTH ATLANTIC REGIONAL CENTER, LLC, for

   damages, litigation costs, and for any such other and further relief as this Court deems just and

   proper.

                                  COUNT 19 - Breach of Fiduciary Duty
                                  (Defendants, J. Vosotas and United EB5)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

             397.   Defendants, J. Vosotas and United EB5 owed Plaintiffs a fiduciary duty and other

   implied duties arising from their service as general partners or persons purporting to act as general

   partners of Defendant, Greystone EB-5 Partnership, including the duties of loyalty and care.

             398.   Moreover, Plaintiffs reposed their trust and confidence in Defendants, J. Vosotas

   and United EB5 which they accepted. Plaintiffs were dependent on Defendants, United EB5,

   SARC, Walsh, and J. Vosotas and their purported expertise in the United States EB-5 visa program,

   and Defendants knowingly undertook and accepted the duty to advise, counsel, and protect

   Plaintiffs.

             399.   Defendants, J. Vosotas and United EB5’s duty of loyalty included the duty to

   account and hold as trustee any property derived by the general partner in the conduct of the limited

   partnership’s activities.

             400.   Defendants, J. Vosotas and United EB5 had a duty to refrain from engaging in

   grossly negligent or reckless conduct, intentional misconduct, or a knowing violation of law.



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           401.    Defendants, J. Vosotas and United EB5’s duty of loyalty included the duty to follow

   material terms of the partnership agreement, which would have revealed Defendant’s fraud, such

   as providing annual financial statements.

           402.    Defendants, J. Vosotas and United EB5 by stealing and/or allowing Plaintiffs’ funds

   to be stolen from the Escrow Account, in derogation of the written and oral representations that

   the funds would be held in escrow pending USCIS’ approval of Plaintiffs’ I-526 applications,

   breached their fiduciary duties to Plaintiffs.

           403.    Defendants, J. Vosotas and United EB5 by concealing material facts about the

   Greystone project, breached their fiduciary duties to Plaintiffs.

           404.    Defendants, J. Vosotas and United EB5 breach of their fiduciary duties have caused

   Plaintiffs substantial damage.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, JAMES VOSOTAS and UNITED EB-5, LLC, for damages, litigation costs, and for

   any such other and further relief as this Court deems just and proper.

                        COUNT 20 - Aiding and Abetting Breach of Fiduciary Duty
                                        (Defendant, D. Vosotas)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           405.    Defendants, Walsh, SARC, J. Vosotas, and United EB5 breached a fiduciary duty

   owed to the Plaintiffs.

           406.    Defendant, D. Vosotas had speciﬁc knowledge of Defendants, Walsh, SARC, J.

   Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

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          407.     Defendant, D. Vosotas had specific knowledge of the fiduciary duties Defendants,

   United EB5, SARC, Walsh, and J. Vosotas had to Plaintiffs as General Managers of Defendant,

   Greystone EB-5 Partnership.

          408.    Defendant, D. Vosotas knew should have known Plaintiffs’ funds were supposed to

   be held in escrow then loaned to Defendant, Greystone Hotel Miami for the purposes of developing

   the Greystone Properties.

          409.    Defendant, D. Vosotas knew or should have known that Plaintiffs' investment funds

   were never placed in escrow, never loaned to Greystone Hotel Miami, and never used to develop

   the Greystone Properties.

          410.    Defendant, D. Vosotas knew, or should have known, that Defendants, SARC, J.

   Vosotas, and United EB5 misappropriated Plaintiffs’ investment was a violation of their Fiduciary

   Duty to Plaintiffs.

          411.    Defendant, D. Vosotas through his role as manager of the Vosotas Entities (Trans

   Inn Associates, VOS Holdings, and VOS CRE I) had specific knowledge that Plaintiffs’ investment

   had been misappropriated and Fiduciary Duties violated.

          412.    Defendant, D, Vosotas as 25% manager/member of the Greystone Properties, had

   ultimate control over the various Vosotas Entities, had specific knowledge that Plaintiffs’

   investment had been misappropriated and Fiduciary Duties violated.

          413.    Defendant, D. Vosotas provided substantial assistance to advance the commission

   of the Breach of Fiduciary Duty.

          414.    Defendant, D. Vosotas, or his authorized agents, met with Plaintiffs to discuss their

   potential investment in the Greystone Project. Representations made by D. Vostoas and/or his

   agents gave credibility to Walsh and the Greystone Project.


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          415.    Defendant, D. Vosotas produced a website that made multiple misrepresentations

   to induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return on investment, (2) a

   99% success rate for visa applications, and (3) the existence of a legitimate escrow account.

          416.    Defendant, D. Vosotas, provided Defendants, Walsh, the Walsh Entities, and co-

   conspirators fraudulent business plans, mortgages, and loan agreements that made multiple

   misrepresentations including (1) the ownership of the Greystone Properties, (2) the existence of a

   security on Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the

   project managers’ EB-5 Experience, (5) the development timeline, and (6) the existence of bank

   and third-party investment in the project.

          417.      Defendant, D. Vosotas partnered with Defendant, Walsh and represented himself

   as a project manager in the Greystone Project’s advertisements and the Offering Materials.

   Defendant, D. Vosotas’s reputation, as a purported experienced developer and manager of hotels

   in the Miami Florida market was essential in giving Walsh credibility in the EB-5 offering.

          418.    Defendant, D. Vosotas, knowingly aided and Defendants, Walsh, SARC, J. Vosotas,

   and United EB5’s breach of Fiduciary Duty to Plaintiffs. Defendant, D. Vosotas substantially

   assisted or enabled Defendants, Walsh, SARC, J. Vosotas, and United EB5’s breach of Fiduciary

   Duty to Plaintiffs.

          419.    Plaintiffs were severely damaged by the actions of Defendant, D. Vosotas.

          WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, DANIEL VOSOTAS, for damages, litigation costs, and for any such other and further

   relief as this Court deems just and proper.


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                        COUNT 21 - Aiding and Abetting Breach of Fiduciary Duty
                                   (Defendants, the Vosotas Entities)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           420.    Defendants, Walsh, SARC, J. Vosotas, and United EB5 breached a fiduciary duty

   owed to the Plaintiffs.

           421.    Vosotas Entities Greystone Hotel Miami, United EB5, Santa Barbara 230,

   Greystone Terra Firma, VOS Holdings I, Vos CRE I, Greystone Hospitality, Greystone Holdco,

   Greystone Managing Member, Greystone Master Tenant, Greystone Tenant, Greystone Option

   Holder, Trans Inns Associates, VOS Hospitality, and Greystone Managing Member) had Speciﬁc

   Knowledge of Walsh, SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

           422.     Vosotas Entities had specific knowledge of the fiduciary duties Defendants, United

   EB5, SARC, Walsh, and J. Vosotas had to Plaintiffs as General Managers of Greystone EB5

   Partnership.

           423.    Vosotas Entities knew should have known Plaintiffs’ funds were supposed to be

   held in escrow then loaned to Greystone Hotel Miami for the purposes of developing the Greystone

   Properties.

           424.    Vosotas Entities knew or should have known that Plaintiffs' investment funds were

   never placed in escrow, never loaned to Greystone Hotel Miami, and never used to develop the

   Greystone Properties.

           425.    Vosotas Entities knew, or should have known, that Walsh, SARC, J. Vosotas, and

   United EB5 misappropriated Plaintiffs’ investment was a violation of their Fiduciary Duty to

   Plaintiffs.



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          426.    Vosotas Entities agreed to develop the Greystone Project and EB-5 partnership with

   Walsh. Vosotas Entities were the legally authorized recipients of Plaintiffs’ investment to develop

   the Greystone Properties. As such, the Vosotas Entities had specific knowledge the investment was

   never received and none of Plaintiffs’ funds were used to develop the property.

          427.    Vosotas Entities provided substantial assistance to advance the commission of the

   Breach of Fiduciary Duty.

          428.    Vosotas Entities produced a website that made multiple misrepresentations to

   induce Plaintiffs including (1) The Greystone Project’s Guaranteed Return on investment, (2) a

   99% success rate for visa applications, and (3) the existence of a legitimate escrow account.

          429.     Vosotas Entities, provided Walsh, the Walsh Entities, and co-conspirators

   fraudulent business plans, mortgages, and loan agreements that made multiple misrepresentations

   including (1) the ownership of the Greystone Properties, (2) the existence of a security on

   Plaintiffs’ investment, (3) the project’s economic impact and job creation, (4) the project managers’

   EB-5 Experience, (5) the development timeline, and (6) the existence of bank and third-party

   investment in the project.

          430.    Vosotas Entities, knowingly aided and Walsh, SARC, J. Vosotas, and United EB5’s

   breach of Fiduciary Duty to Plaintiffs. The Vosotas Entities substantially assisted or enabled Walsh,

   SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

          431.    Plaintiffs were severely damaged by the actions of the Vosotas Entities.

          WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendants, GREYSTONE HOTEL MIAMI, UNITED EB5, LLC, SANTA BARBARA 230,


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   LLC, GREYSTONE TERRA FIRMA, LLC, VOS HOLDINGS I, LLC, VOS CRE I, LLC,

   GREYSTONE HOSPITALITY,               LLC,    GREYSTONE HOLDCO,              LLC,        GREYSTONE

   MANAGING MEMBER, LLC, GREYSTONE MASTER TENANT, LLC,                                     GREYSTONE

   TENANT, LLC, GREYSTONE OPTION HOLDER, LLC, TRANS INNS ASSOCIATES, VOS

   HOSPITALITY, LLC and GREYSTONE MANAGING MEMBER, LLC, for damages, litigation

   costs, and for any such other and further relief as this Court deems just and proper.

                        COUNT 22 - Aiding and Abetting Breach of Fiduciary Duty
                                     (Defendants, Ruben Ramirez)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           432.      Defendants, Walsh, SARC, J. Vosotas, and United EB5’s owed a fiduciary duty to

   the Plaintiffs.

           433.      Defendant, Ramirez had speciﬁc knowledge of Walsh, SARC, J. Vosotas, and

   United EB5’s breach of Fiduciary Duty to Plaintiffs.

           434.      Defendant, Ramirez had specific knowledge of the fiduciary duties Defendants,

   United EB5, SARC, Walsh, and J. Vosotas had to Plaintiffs as General Managers of Defendant,

   Greystone EB-5 Partnership.

           435.      Defendant, Ramirez knew Defendant, Walsh created the Fake Escrow Account to

   avoid “obstacles and red tape” associated with legitimate escrow accounts. Defendant, Ramirez

   knew, or should have known, Defendant, Walsh wished to avoid standard escrow requirements to

   assist in the defrauding Plaintiffs’ into believing they were placing their funds into a legitimate

   escrow account.

           436.      Defendant, Ramirez, as a result of all the information that was provided by

   Defendants, Walsh and the Walsh Entities, via Reitz, regarding both the SunTrust escrow account

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   and the intended use of the account they wished to open at PNC, combined with PNC’s knowledge

   of the EB-5 program, had speciﬁc knowledge or should have known that Plaintiffs had been

   fraudulently induced into investing in the Greystone Project.

          437.    Defendant, Ramirez, as a Vice President of PNC and as a result of receiving

   multiple wires transfers referencing an “Escrow Account” had specific knowledge or should have

   known that Plaintiffs’ had been defrauded and wrongfully believed they were placing their funds

   in an escrow account.

          438.    Defendant, Ramirez, as a Vice President of PNC and as a result of witnessing

   Defendant, Walsh immediately transfer funds from the “Escrow Account” to Walsh’s second

   holding account at PNC, had specific knowledge or should have known that Defendants, Walsh,

   SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

          439.    Defendant, Ramirez provided substantial assistance to advance Defencants, Walsh,

   SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

          440.    Defendant, Ramirez assisted Defendant, Walsh in creating the Fake Escrow

   Account.

          441.    Defendant, Ramirez offered, created and implemented the fake escrow account. He

   knew that Defendants, Walsh, the Walsh Entities, and co-conspirators were holding Plaintiffs EB-

   5 investment funds in a checking account fraudulently represented as an escrow account. Ramirez

   also knew Plaintiffs had made substantial transferred to a named “Escrow Account” which was in

   fact a business checking account and those funds were immediately transferred to Walsh’s holding

   account with PNC bank, without a requirement to follow any terms of a PNC escrow agreement.

   Under these particular circumstances, Defendants, Ramirez and PNC’s failure to warn Plaintiffs




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   or stop Defendants, Walsh, the Walsh Entities, and co-conspirators’ fraud is providing substantial

   assistance to Walsh, SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

           442.     Defendant, Ramirez therefore knowingly aided and abetted Defendants, Walsh,

   SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs. Defendant, Ramirez

   substantially assisted or enabled Defendants, Walsh, SARC, J. Vosotas, and United EB5’s breach

   of Fiduciary Duty to Plaintiffs by convincing Plaintiffs’ their EB-5 investment had been placed in

   a legitimate escrow account.

           443.    Plaintiffs were severely damaged by the actions of Defendant, Ramirez.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

   HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

   ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

   Defendant, RUBEN RAMIREZ, for damages, attorneys’ fees, litigation costs, and for any such

   other and further relief as this Court deems just and proper.

                        COUNT 23 - Aiding and Abetting Breach of Fiduciary Duty
                                           (Defendant, PNC)

          Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

   if fully set forth herein.

           444.    Defendants, Walsh, SARC, J. Vosotas, and United EB5 owed a breach of Fiduciary

   Duty to the Plaintiffs.

           445.    Defendant, PNC had speciﬁc knowledge of Defendants, Walsh, SARC, J. Vosotas,

   and United EB5’s breach of Fiduciary Duty to Plaintiffs.

           446.    Defendant, PNC had specific knowledge of the fiduciary duties Defendants, United

   EB5, SARC, Walsh, and J. Vosotas had to Plaintiffs as General Managers of Defendant, Greystone

   EB-5 Partnership.

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           447.    Defendant, PNC knew Defendant, Walsh created the Fake Escrow Account to avoid

    the standard banking policies and procedures associated with legitimate escrow accounts.

    Defendant, PNC knew, or should have known, Defendant, Walsh sought to avoid standard escrow

    requirements to assist in the defrauding Plaintiffs’ into believing they were placing their funds into

    a legitimate escrow account.

           448.    Defendant, PNC, as a result of all the information that was provided by Defendants,

    Walsh and the Walsh Entities, via Reitz, regarding both the SunTrust escrow account and the

    intended use of the account they wished to open at PNC, combined with PNC’s knowledge of the

    EB-5 program, had speciﬁc knowledge or should have known that Plaintiffs had been fraudulently

    induced into investing in the Greystone Project.

           449.    Defendant, PNC as a result of receiving multiple wires transfers referencing an

    “Escrow Account” had specific knowledge or should have known that Plaintiffs’ had been

    defrauded and wrongfully believed they were placing their funds in an escrow account.

           450.    Defendant, PNC as a result of witnessing Defendant, Walsh immediately transfer

    funds from the “Escrow Account” to Walsh’s second holding account at PNC, had specific

    knowledge or should have known that Defendants, Walsh, SARC, J. Vosotas, and United EB5’s

    breached their Fiduciary Duties to Plaintiffs.

           451.    Defendant, PNC provided substantial assistance to advance Defendants, Walsh,

    SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

           452.    Defendant, PNC assisted Defendant, Walsh in creating the Fake Escrow Account.

           453.    Defendant, PNC offered, created and implemented the fake escrow account.

    Defendant, PNC knew that Defendants, Walsh, the Walsh Entities, and co-conspirators were

    holding Plaintiffs EB-5 investment funds in a checking account fraudulently represented as an


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    escrow account. Defendant, PNC also knew Plaintiffs had made substantial transferred to a named

    “Escrow Account” which was in fact a business checking account and those funds were

    immediately transferred to Defendant, Walsh’s holding account with PNC bank, without a

    requirement to follow any terms of a PNC escrow agreement. Under these particular

    circumstances, Defendants, Ramirez and PNC’s failure to warn Plaintiffs or stop Defendants,

    Walsh, the Walsh Entities, and co-conspirators’ fraud is providing substantial assistance to Walsh,

    SARC, J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs.

            454.    Defendant, PNC therefore knowingly aided and abetted Defendants, Walsh, SARC,

    J. Vosotas, and United EB5’s breach of Fiduciary Duty to Plaintiffs. Defendant, PNC substantially

    assisted or enabled Defendants, Walsh, SARC, J. Vosotas, and United EB5’s breach of Fiduciary

    Duty to Plaintiffs by convincing Plaintiffs’ their EB-5 investment had been placed in a legitimate

    escrow account.

            455.    Plaintiffs were severely damaged by the actions of Defendant, PNC.

            WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

    Defendant, PNC BANK, N.A., for damages, attorneys’ fees, litigation costs, and for any such other

    and further relief as this Court deems just and proper.

                                             COUNT 24 - Fraud
                                             (Defendant, Walsh)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            456.    In a calculated scheme to defraud, Defendant Walsh made false statements to the

    Plaintiffs to induce them into investing into an EB-5 program.

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           457.        Knowing that his statements were false, Defendant Walsh intended for the

    representations to induce Plaintiffs to rely on them, so that Plaintiffs would invest into the

    Greystone EB-5 Partnership and Defendant, Walsh would obtain such investments.

           458.        Defendant, Walsh produced, signed, and distributed to Plaintiffs’ immigration

    attorney, to be filed with USCIS, loan agreements, contracts, construction agreements, and

    ownership charts falsely stating:

                  a.   the use of investor funds;
                  b.   the use of an escrow account to hold investor funds prior to disbursement to
                       Greystone Project;
                  c.   the existence of conditions precedent to the advancement of loan disbursements to
                       Greystone Project;
                  d. the guaranteed return of investors' funds if their I-526 Petitions were denied;
                  e. Defendants’ backgrounds;
                  f. the preparation and periodic disclosure to investors of financial reports;
                  g. Greystone Project’s repayment of the loan; and
                  h.   Greystone Project’s purported ownership of and investment in the Greystone Hotel
                       and underlining Greystone Properties prior to the commencement of the EB-5
                       Greystone Partnership offering.
                  i. The existence of a mortgage, or other security, the investors held through the
                       Greystone Partnership against the Greystone Properties to secure their loan and
                       investment.
           459.        Defendant, Walsh knew the representation and materials provided were false and

    intended that Plaintiffs and USCIS rely on them and to prevent USCIS or Plaintiffs from

    discovering and taking action to disrupt the criminal scheme.

           460.        Plaintiffs justifiably relied on these material representations and invested funds in

    the Greystone EB-5 project.

           461.        Defendant, Walsh did not perform and misappropriated the Plaintiffs’ investments.

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            462.       In justifiable reliance on Defendant, Walsh’s representations, Plaintiffs suffered

    damages.

         WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING HUI,

    JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN ZHANG

    respectfully request this Court to enter a judgment in favor of Plaintiffs, against Defendant,

    JOSEPH WALSH, for damages, attorneys’ fees, litigation costs, and for any such other and further

    relief as this Court deems just and proper.

                                               COUNT 25 - Fraud
                                              (Defendant, J. Vosotas)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            463.       In a calculated scheme to defraud, Defendant, J. Vosotas made false statements to

    the Plaintiffs to induce them into investing into an EB-5 program.

            464.       Knowing that his statements were false, Defendant, J. Vosotas intended for the

    representations to induce Plaintiffs to rely on them, so that Plaintiffs would invest into the

    Greystone EB-4 Partnership and Defendant, J. Vosotas would obtain such investments.

            465.       Defendant, J. Vosotas produced, signed, and distributed to Plaintiffs’ immigration

    attorney, to be filed with USCIS, loan agreements, contracts, construction agreements, and

    ownership charts falsely stating:

                  a.   the use of investor funds;
                  b.   the use of an escrow account to hold investor funds prior to disbursement to
                       Greystone Project;
                  c.   the existence of conditions precedent to the advancement of loan disbursements to
                       Greystone Project;
                  d. the guaranteed return of investors' funds if their I-526 Petitions were denied;


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                  e. Defendants’ backgrounds;
                  f. the preparation and periodic disclosure to investors of financial reports;
                  g. Greystone Project’s repayment of the loan;
                  h.   Greystone Project’s purported ownership of and investment in the Greystone Hotel
                       and underlining Greystone Properties prior to the commencement of the EB-5
                       Greystone Partnership offering; and
                  i. The existence of a mortgage, or other security, the investors held through the
                       Greystone Partnership against the Greystone Properties to secure their loan and
                       investment.
           466.        Defendant, J. Vosotas knew the representation and materials provided were false

    and intended that Plaintiffs and USCIS rely on them and to prevent USCIS or Plaintiffs from

    discovering and taking action to disrupt the criminal scheme.

           467.        Plaintiffs justifiably relied on these material representations and invested funds in

    the Greystone EB-5 project.

           468.        Defendant, J. Vosotas did not perform and misappropriated the Plaintiffs’

    investments.

           469.        In justifiable reliance on Defendant J. Vosotas’ representations, Plaintiffs suffered

    damages.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

    Defendant, JAMES VOSOTAS, for damages, attorneys’ fees, litigation costs, and for any such

    other and further relief as this Court deems just and proper.




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                                    COUNT 26 - Florida Civil RICO
                                         (All Defendants)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            470.    This is an action for civil racketeering relief under the Florida RICO (Racketeer

    Influenced and Corrupt Organization) Act, Florida Statutes §§ 895.01-895.05 against all

    Defendants.

            471.    Defendants acted as a RICO “enterprise” as defined in Florida Statute § 895.02(5),

    to wit; a partnership operation designed to solicit foreign investors to invest in a USCIS approved

    EB-5 program in the United States, which was a union or association of persons and legal entities

    acting together, without disclosing their interrelatedness and joint profiteering scheme.

            472.    The above described RICO enterprise had an organizational structure, internal

    command and control structure and mechanism set out by continuing written and verbal

    agreements pertaining to the Greystone EB-5 Partnership, between Defendant, Walsh, Walsh Jr.,

    the Walsh Entities, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl, the B Group and with the

    assistance of Defendants, Evans, Reitz, Ramirez and PNC, all of which purported to be a legitimate

    EB-5 program and was furthered, orchestrated, organized and/or directed, by Defendant, Walsh.

            473.    The above described RICO enterprise operated on a continuing nature and on a

    daily basis over a period of months from at least 2014 through 2019.

            474.    The above described RICO enterprise operated and existed by mutual agreements

    between the Defendants separate from, and not by virtue of, its pattern of racketeering activity.

            475.    Defendants, while associated with said enterprise, engaged in a “pattern of

    racketeering activity” as defined in Florida Statute § 895.02(7).



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           476.    Defendants, while associated with the Greystone EB-5 Partnership, engaged in

    a “pattern of racketeering activity” as defined in Florida Statute § 895.02(7) involving a pattern

    of bad acts in violation of Chapter 817, relating to fraudulent practices, false pretenses, fraud

    generally, by compelling Plaintiffs’ investments into the Greystone EB-5 Partnership despite

    having intentionally and fraudulently failed to actually appropriate Plaintiffs’ investment funds

    into a legitimate EB-5 project, had similar intents, results, or methods of commission and were

    interrelated by distinguishing characteristics and not isolated incidents; and received, with criminal

    intent, proceeds derived from such racketeering activity.

           477.    In addition, Defendants, while associated with the Greystone EB-5 Partnership

    fraud enterprise, engaged in a “pattern of racketeering activity” as defined in Florida Statute §

    895.02(7) involving a pattern of bad acts in violation of Chapter 817, relating to fraudulent

    practices, false pretenses, fraud generally, by inducing foreign investors like the Plaintiffs to their

    participate in the fraudulent Greystone EB-5 Partnership and their interrelated or enterprise

    entities, while concealing and failing to disclose the common profit, scheme, and interrelatedness

    of Defendants, and, had similar intents, results, or methods of commission and were interrelated

    by distinguishing characteristics and not isolated incidents; and received, with criminal intent,

    proceeds derived from such racketeering activity.

           478.    Defendants, while associated with the Greystone EB-5 Partnership fraud enterprise,

    engaged in a “pattern of racketeering activity” as defined in Florida Statute § 895.02(7)

    involving a pattern of fraud in violation of Chapter 817, relating to fraudulent practices, false

    pretenses, fraud generally that had similar intents, results, or methods of commission and were

    interrelated by distinguishing characteristics and were not isolated incidents as set out in the above

    factual allegations.


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            WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

    Defendants for damages, attorneys’ fees, litigation costs, and for any such other and further relief

    as this Court deems just and proper.

                                    COUNT 27 - Constructive Fraud
                                     (Defendants, Walsh and SARC)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            479.    A duty to Plaintiffs under a confidential or fiduciary relationship has been abused.

            480.    An unconscionable or improper advantage has been taken of Plaintiffs.

            481.    Defendants, Walsh and SARC, as General Partner, of the Greystone EB-5

    Partnership, had a fiduciary relationship with Plaintiffs.

            482.    As specifically described above, a fraudulent scheme was perpetrated upon

    Plaintiffs based upon knowingly false statements concerning material facts and concealment.

            483.    Plaintiffs relied upon the false statements knowingly made by Defendants Walsh

    and SARC concerning material facts and concealment, were induced to provide their investments,

    and have been damaged.

            484.    Defendants, Walsh and SARC’s fraudulent scheme perpetrated upon Plaintiffs was

    wrongful, and equitable interference is justified under these circumstances.

            WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

    Defendants, JOSEPH WALSH and SOUTH ATLANTIC REGIONAL CENTER, LLC, for

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    damages, attorneys’ fees, litigation costs, and for any such other and further relief as this Court

    deems just and proper.

                                   COUNT 28 - Constructive Fraud
                                 (Defendants, J. Vosotas and United EB5)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            485.    A duty to Plaintiffs under a confidential or fiduciary relationship has been abused.

            486.    An unconscionable or improper advantage has been taken of Plaintiffs.

            487.    Defendants, J. Vosotas and United EB-5, as General Partner, of the Greystone EB-

    5 Partnership, had a fiduciary relationship with Plaintiffs.

            488.    As specifically described above, a fraudulent scheme was perpetrated upon

    Plaintiffs based upon knowingly false statements concerning material facts and concealment.

            489.    Plaintiffs relied upon the false statements knowingly made by Defendants, J.

    Vosotas and United EB-5 concerning material facts and concealment, were induced to provide

    their investments, and have been damaged.

            490.    Defendants, J. Vosotas and United EB-5’S fraudulent scheme perpetrated upon

    Plaintiffs was wrongful, and equitable interference is justified under these circumstances.

            WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

    Defendants, JAMES VOSOTAS and UNITED EB-5, LLC, for damages, attorneys’ fees, litigation

    costs, and for any such other and further relief as this Court deems just and proper.




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                          COUNT 29 - Civil Conspiracy against all Defendants
                                           (All Defendants)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            491.    Defendants are parties to a conspiracy.

            492.    There was an agreement between the Defendants to do an unlawful act or to do a

    lawful act by unlawful means, there were overt acts in furtherance of the conspiracy, and Plaintiffs

    were damaged as a result of acts done under the conspiracy.

            493.    As described above, the basis of the conspiracy is a fraud and theft of over four

    million dollars of Plaintiffs’ money, which are independent torts that give rise to causes of action

    if committed by one person.

            494.    Defendants entered into a conspiracy and acted in concert to market a fraudulent

    investment scheme to Plaintiffs, steal their money, and then distribute and dissipate the money

    among themselves.

            495.    Defendants acted with the full knowledge and awareness that the investment

    scheme was designed to fraudulently procure and steal Plaintiffs’ funds under the guise of an EB-

    5 visa investment opportunity.

            496.    Defendants acted contrary to law, acted according to a predetermined and

    commonly understood plan of action for the purpose of obtaining Plaintiffs’ funds, and took overt

    acts in furtherance of the conspiracy.

            497.    There was a meeting of minds between and among the Defendants to commit the

    unlawful acts alleged herein.

            498.    Plaintiffs have suffered damage as a result of the conspiracy.



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            WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG respectfully request this Court to enter a judgment in favor of Plaintiffs, against

    Defendants for damages, interest, attorneys’ fees, litigation costs, and for any such other and

    further relief as this Court deems just and proper.

                                        COUNT 30 - Dissolution
                                 (Defendant, Greystone EB-5 Partnership)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            499.    Defendant, Greystone EB-5 Partnership is a Florida limited liability limited

    partnership and is governed by the Florida Revised Uniform Limited Partnership Act of 2005,

    which is contained in Florida Statutes Chapter 620.

            500.    Plaintiffs are limited partners in Greystone EB-5 Partnership.

            501.    Pursuant to Fla. Stat. §620.1802, on application by a partner, the circuit court may

    order the dissolution of a limited partnership if it is not reasonably practicable to carry on the

    activities of the limited partnership in conformity with the partnership agreement.

            502.    As described above, Defendant, Greystone EB-5 Partnership served as a vehicle for

    Defendants to defraud Plaintiffs and steal their funds.

            503.    The partnership required Defendants to loan the funds from Defendant, Greystone

    EB-5 Partnership to Defendant, Greystone Hotel Miami to develop the Greystone Hotel.

            504.    With all the funds now stolen from the Escrow Account, and the Greystone EB-5

    Partnership shown to be nothing more than an instrument of Defendants’ theft, the Greystone EB-

    5 Partnership has no reasonably practical means to carry on its operation.



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             505.   Additionally, it is necessary to remove Defendants, SARC and United EB-5 as

    General Partners from continuing to manage the partnership and perpetuated the theft of Plaintiffs

    funds.

             506.   Defendants, SARC and United EB-5 should be removed from the wind up of

    Greystone Partnership the prosecution of legal claims on behalf of Greystone EB-5 Partnership.

             507.   New, independent decision makers and counsel that will actually pursue justice on

    behalf of the victims should be installed at Greystone EB-5 Partnership.

             508.   Accordingly, pursuant to Fla. Stat. §620.1803(4), on the basis of the good cause

    demonstrated herein, Plaintiffs ask the Court to order judicial supervision of the winding up of

    Greystone EB-5 Partnership, and the appointment of a person to wind up Greystone EB-5

    Partnership’s activities, including the prosecution of claims on behalf of Greystone EB-5

    Partnership.

             509.   Alternatively, dissolution and wind up of Greystone EB-5 Partnership is appropriate

    pursuant to the Greystone EB-5 Limited Partnership Agreement.

         WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING HUI,

    JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN ZHANG

    respectfully request this Court to enter a judgment in favor of Plaintiffs, against Defendant,

    GREYSTONE EB-5, LLLP. Further, pursuant to Florida Statutes §§ 620.1802 and §620.1803,

    Plaintiffs seek the dissolution and wind up of Defendant, Greystone EB-5 LLLP, judicial

    supervision of the wind up, the appointment of a person to wind up Greystone Partnership’s

    activities, including the prosecution of claims on behalf of Defendant, Greystone EB-5, LLLP and

    for damages, attorneys’ fees, litigation costs, and for any such other and further relief as this Court

    deems just and proper.


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                             COUNT 31 - Equitable Lien-1920 Collins Avenue

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            510.    Plaintiffs seek the imposition of a lien on the 1920 Collins Avenue parcel held by

    Defendant, Greystone Terra Firma, LLC.

            511.    As described above, Defendants, D. Vosotas, J. Vosotas, the Vosotas Entities, Muhl,

    and B Group are managers and members of Defendant, Greystone Terra Firma and used fraud,

    misrepresentation, and deception to secure Plaintiffs’ investments in Greystone EB-5 Partnership

    Project.

            512.    A lien on the Greystone Properties in favor of Plaintiffs is appropriate to prevent

    unjust enrichment or other inequities.

            WHEREFORE, Plaintiffs request that the Court impose an equitable lien in favor of

    Plaintiffs on the 1920 Collins Avenue parcel held by Defendant, GREYSTONE TERRA FIRMA,

    LLC, and grant such other and further relief which is necessary and just under the circumstances.

                            COUNT 32 - Equitable Lien-230 Santa Barbara St.

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            513.    Plaintiffs seek the imposition of a lien on the Santa Barbara Apartments located at

    230 20th Street, Miami Beach, Florida, a parcel held by Defendant, Santa Barbara 230.

            514.    As described above, Defendant, J. Vosotas, as manager and member of Defendant,

    Santa Barbara 230 used fraud, misrepresentation, and deception to secure Plaintiffs’ investments

    in Greystone EB-5 Partnership project.




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            515.     A lien on the Greystone Properties located at 230 20th Street, Miami Beach, Florida,

    in favor of Plaintiffs is appropriate to prevent unjust enrichment or other inequities.

            WHEREFORE, Plaintiffs request that the Court impose an equitable lien in favor of

    Plaintiffs on the 1920 Collins Avenue parcel held by Defendant, 230 SANTA BARBARA, LLC,

    and grant such other and further relief which is necessary and just under the circumstances.

            COUNT 33 – Violation of Florida Deceptive and Unfair Trade Practices Act,
                                 Florida Statutes §501.201 et seq.
          (Defendants, Walsh, SARC, J. Vosotas, D. Vosotas, United EB-5, USREDA and Muhl)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            516.     The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) broadly

    prohibits all “[u]nfair methods of competition, unconscionable acts or practices, and unfair or

    deceptive acts or practices in the conduct of any trade of commerce.” § 501.204(1), Fla. Stat.

            517.     The Defendants engaged in trade and/or commerce within the meaning of

    FDUTPA.

            518.     Plaintiffs were consumers under FDUTPA.

            519.     In furtherance of a conspiracy to defraud and steal from Plaintiffs, Defendants,

    Walsh, SARC, J. Vosotas, D. Vosotas, United EB-5, USREDA and Muhl, engaged in deceptive

    and unfair trade practices, as more fully explained above, including but not limited to:

                  a. Causing Plaintiffs to wire money into a bank account in Florida, which then allowed
                     the money to be looted in Florida;

                  b. Stealing and removing Plaintiffs’ funds from the Escrow Account in Florida;

                  c. Engaging in a scheme whereby Plaintiffs’ funds were moved between multiple bank
                     accounts in Florida, using Florida business entities (e.g., Defendant, Greystone EB-
                     5 Partnership) or entities with their principal place of business in Florida (e.g.,

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                       Defendant, USREDA), in an effort to disguise the source of funds, and then
                       distributing those funds among the conspirators in Florida; and

                  d.   Providing Plaintiffs’ funds to Defendant, SARC in Florida before Plaintiffs’ I-526
                       Petitions were approved by USCIS; Engaging in a systematic scheme, in Florida,
                       to loot Plaintiffs’ funds.

            520.       Defendants deceptive acts and unfair practices cause Plaintiffs to suffer damages.

            521.       Plaintiffs suffered actual economic damages as a direct result of the Defendants,

    Walsh, SARC, J. Vosotas, D. Vosotas, United EB-5, USREDA and Muhl’s deceptive and unfair

    trade practices.

            522.       Plaintiffs’ damages include, but are not limited to, their solicited investments in the

    Greystone EB-5 Partnership Program.

            WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in favor of

    Plaintiffs and against the Defendants JOSEPH WALSH, SOUTH ATLANTIC REGIONAL

    CENTER, LLC,, JAMES VOSOTAS, DANIEL VOSOTAS, UNITED EB-5, LLC, USREDA,

    LLC, and BRANDEN MUHL, for damages, interest, costs, attorneys’ fees pursuant to Fla. Stat.

    Section § 501.2105, and such other relief that the Court deems just and proper.

                                       COUNT 34 – Equitable Accounting
                                     (Defendant, Greystone EB-5 Partnership)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            523.       Defendant, Greystone EB-5 Partnership shares a fiduciary relationship or entered

    into a complex transaction.

            524.       The fraud and theft perpetrated upon Plaintiffs was an extensive, complex

    transaction, whereby Plaintiffs’ funds were transferred between and among many accounts,

    laundered through numerous entities, and ultimately used for personal, inappropriate purposes.
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            525.    Plaintiffs’ funds, which were transferred from the Escrow Account without any

    authorization from Plaintiffs, and the subsequent unauthorized transfers and transactions involving

    these funds, are so involved and complicated that a remedy at law is insufficient to administer

    complete justice.

            526.    Plaintiffs are entitled to receive information regarding transactions involving any

    of the funds traceable to Plaintiffs.

            527.    Plaintiffs have requested information on the transfers of their funds, transactions

    involving their funds, and the present location of their funds, which has not been provided.

            528.    A remedy at law is inadequate.

            WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

    Defendant, GREYSTONE EB-5, LLLP, and order Defendant to provide a full and complete

    accounting of their finances, operations, and transactions involving any funds traceable to

    Plaintiffs, provide Plaintiffs with the location and amount of all accounts containing any funds

    traceable to Plaintiffs, provide Plaintiffs with the location and description of all property purchased

    with any funds traceable to Plaintiffs, and to grant such other and further relief as the Court deems

    just and proper.

                                    COUNT 35 - Equitable Accounting
                                      (Defendant, Walsh and SARC)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            529.    Defendants, Walsh and SARC share a fiduciary relationship or entered into a

    complex transaction.

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            530.    The fraud and theft perpetrated upon Plaintiffs was an extensive, complex

    transaction, whereby Plaintiffs’ funds were transferred between and among many accounts,

    laundered through numerous entities, and ultimately used for personal, inappropriate purposes.

            531.    Plaintiffs’ funds, which were transferred from the Escrow Account without any

    authorization from Plaintiffs, and the subsequent unauthorized transfers and transactions involving

    these funds, are so involved and complicated that a remedy at law is insufficient to administer

    complete justice.

            532.    Plaintiffs are entitled to receive information regarding transactions involving any

    of the funds traceable to Plaintiffs.

            533.    Plaintiffs have requested information on the transfers of their funds, transactions

    involving their funds, and the present location of their funds, which has not been provided.

            534.    A remedy at law is inadequate.

            WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

    Defendants JOSEPH WALSH and SOUTH ATLANTIC REGIONAL CENTER, LLC, and order

    Defendants to provide a full and complete accounting of their finances, operations, and

    transactions involving any funds traceable to Plaintiffs, provide Plaintiffs with the location and

    amount of all accounts containing any funds traceable to Plaintiffs, provide Plaintiffs with the

    location and description of all property purchased with any funds traceable to Plaintiffs, and to

    grant such other and further relief as the Court deems just and proper.




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                                   COUNT 36 – Equitable Accounting
                                  (Defendants, J. Vosotas and United EB5)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            535.    Defendants, J. Vosotas and United EB5 share a fiduciary relationship or entered

    into a complex transaction.

            536.    The fraud and theft perpetrated upon Plaintiffs was an extensive, complex

    transaction, whereby Plaintiffs’ funds were transferred between and among many accounts,

    laundered through numerous entities, and ultimately used for personal, inappropriate purposes.

            537.    Plaintiffs’ funds, which were transferred from the Escrow Account without any

    authorization from Plaintiffs, and the subsequent unauthorized transfers and transactions involving

    these funds, are so involved and complicated that a remedy at law is insufficient to administer

    complete justice.

            538.    Plaintiffs are entitled to receive information regarding transactions involving any

    of the funds traceable to Plaintiffs.

            539.    Plaintiffs have requested information on the transfers of their funds, transactions

    involving their funds, and the present location of their funds, which has not been provided.

            540.    A remedy at law is inadequate.

            WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

    Defendants JAMES VOSOTAS and UNITED EB-5, LLC, and order Defendants to provide a full

    and complete accounting of their finances, operations, and transactions involving any funds

    traceable to Plaintiffs, provide Plaintiffs with the location and amount of all accounts containing

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    any funds traceable to Plaintiffs, provide Plaintiffs with the location and description of all property

    purchased with any funds traceable to Plaintiffs, and to grant such other and further relief as the

    Court deems just and proper.

                                     COUNT 37 - Breach of Contract
                                  (Defendant, Greystone EB-5 Partnership)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            541.    Defendant, Greystone EB-5 Partnership, entered into the Limited Partnership

    Agreement with Plaintiffs for the development of the Greystone Hotel Project.

            542.    Pursuant to the Greystone EB-5 Limited Partnership Agreement, the Plaintiffs each

    paid Five Hundred Thousand Dollars ($500,000.00) as their investment in exchange for one (1)

    unit in the Greystone EB-5 Partnership.

            543.     Plaintiffs paid a Forty-Five Thousand Dollar Administrative Fee ($45,000.00)

    pursuant to the terms of the Greystone EB-5 Limited Partnership Agreement.

            544.    Plaintiffs have performed all of its obligations under the Greystone EB-5 Limited

    Partnership Agreement.

            545.    Defendant, Greystone EB-5 Partnership has breached the Greystone EB-5 Limited

    Partnership Agreement by failing to comply with its terms, including, but not limited to: failing to

    invest the Plaintiffs’ funds in a qualifying investment under the EB-5 Program, provide Plaintiffs’

    with an accounting, provide a return of Plaintiffs’ investment upon Plaintiffs’ I-526 Petition

    denials, failing to hold Plaintiffs’ funds in an Escrow account, and misappropriating Plaintiffs’

    investments.

            546.    As a result of the breach, Plaintiffs have already been damaged and continue to

    sustain additional damages.

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              WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

    Defendant, GREYSTONE EB-5, LLLP for damages, pre-judgment and post-judgment interest,

    litigation costs, and for any such other and further relief as this Court deems just and proper.

                                     COUNT 38 – Unjust Enrichment
                                   (Defendant, Greystone EB-5 Partnership)
                                        In the Alternative to Count 37

              Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

              547.    Plaintiffs conveyed a benefit of nearly Five Million Dollars ($500,000,000.00) to

    Defendant, Greystone EB-5 Limited Partnership.

              548.    Defendant, Greystone EB-5 Partnership was enriched by the benefit and used it for

    their own personal uses.

              549.    Defendant, Greystone EB-5 Partnership retained the benefit for its sole use and

    profit.

              550.    The circumstances are such that it would be inequitable for Defendant Greystone

    EB-5 Partnership to retain the benefit, without paying Plaintiffs.

              551.    Plaintiffs have no adequate remedy at law.

              WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

    Defendant, GREYSTONE EB-5, LLLP for damages, litigation costs, and for any such other and

    further relief as this Court deems just and proper.


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                      COUNT 39 - Avoidance of Fraudulent Transfers Pursuant to
                                  Florida Statutes §726.105 (1)(a)
                                        (Defendant, Walsh)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            552.    Defendant, Walsh, without the knowledge, consent or approval of the Plaintiffs,

    stole Plaintiffs’ funds and distributed them to his conspirators and their various entities.

            553.    Under Florida Statutes § 726.105(1)(a), a transfer made or obligation incurred by a

    debtor is fraudulent as to a creditor, whether the creditor’s claim arose before or after the transfer

    was made or the obligation was incurred, if the debtor made the transfer or incurred the obligation

    with the actual intent to hinder, delay, or defraud and creditor of the debtor.

            554.     As the funds and assets at issue were stolen by Defendant, Walsh from Plaintiffs,

    Plaintiffs have claims against Defendant, Walsh which pre-dated the fraudulent transfers and are

    “Creditors” within the meaning of Florida Statutes § 726.102(4).

            555.     Defendant, Walsh is a “Debtor” within the meaning of Florida Statutes §

    726.102(6).

            556.    At the time Defendants received the transfers as set forth herein, there existed

    significant, unpaid claims of the Plaintiffs against Defendant, Walsh.

            557.    The transfers were made with the actual intent to hinder, delay, and defraud

    Plaintiffs as creditors of Defendant, Walsh.

            558.    The transfers were made under circumstances demonstrating an unlawful intent as

    set forth in Florida Statutes §726.105(2), because, among other things: (i) the transfers were to

    insiders; (ii) the transfers were concealed; (iii) the debtor retained control over many of the




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    transferred assets; (iv) the transfer was of substantially all of the debtor’s assets; (v) the debtor

    removed or concealed assets; and (vi) the debtor absconded.

           559.     Florida Statutes § 726.108 provides that, in an action for relief against a transferee

    under § 726.105, a creditor may obtain:

                   a. avoidance of the transfer to the extent necessary to satisfy the creditor’s claim;

                   b.   an attachment or other provisional remedy against the asset transferred or other

                        property of the transferee in accordance with applicable law;

                   c. an injunction against further disposition by the transferee of the asset transferred

                        or of other property;

                   d.   appointment of a receiver to take charge of the asset transfer or other property;

                        or

                   e. any other relief the circumstances may require.

           560.    In addition to the relief available to the Plaintiffs under Florida Statute § 726.108,

    Plaintiffs also are entitled to a money judgment equal to the value of the assets transferred

    including pre-judgment interest.

           WHEREFORE, Plaintiffs, YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG respectfully requests that the Court enter judgment in favor of Plaintiffs and against De-

    fendant, JOSEPH WALSH in an amount equal to the value of the assets transferred to them, and

    award Plaintiffs pre-judgment interest and any other remedies the Court deems just and proper

    including, without limitation, and any or all of the remedies provided under Florida Statutes Chap-

    ter 726 and for any further relief this Court deems just and proper.




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                     Count 40 – Violations of Section 10(b) of the Exchange Act and
                                  Rule 10b-5 Promulgated Thereunder
                   (Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA, Greystone EB-5)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            561.     Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5 carried

    out a plan, scheme, and course of conduct that was intended to, and did (i) deceive Plaintiffs, as

    alleged herein; and (ii) cause Plaintiffs to purchase limited partnership interests in Greystone EB-

    5 Partnership. In furtherance of this unlawful scheme, Walsh, Walsh Jr., Muhl, SARC, USREDA

    and Greystone EB-5 took the actions set forth hereinabove.

            562.     Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5 (i)

    employed devices, schemes, and artifices to defraud; (ii) made untrue statements of material fact

    and/or omitted to state material facts necessary to make the statements not misleading; and (iii)

    engaged in acts, practices and a course of business which operated as a fraud and deceit upon

    purchasers of Greystone EB-5 Partnership’s limited partnership units in violation of Section 10(b)

    of the Exchange Act and Rule 10b-5. These Defendants are sued as primary participants in the

    wrongful and illegal conduct charged herein.

            563.     Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5,

    individually and in concert, directly and indirectly, by the use, means, or instrumentalities of

    interstate commerce and/or of the mails, engaged and participated in a course of conduct including

    but not limited to conceal adverse material information about the fake escrow account, the status

    of the project, the funding available for the completion of the Greystone EB-5 Project.

            564.     Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5 each

    employed devices, schemes and artifices to defraud and engaged in acts, practices, and a course of


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    conduct as alleged herein in an effort to assure the Plaintiffs of the value of investing in the project,

    which included the making of, or the participating in the making of, untrue statements of material

    facts about the Greystone EB-5 Partnership and project and omitting material facts necessary in

    order to make the statements not misleading.

            565.    Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5’s

    primary liability arises from the following facts, among others: (i) Defendants designed a scheme

    to entice foreign investors to purchase limited partnership interests in the Greystone EB-5

    Partnership; (ii) Defendants, by virtue of their responsibilities and activities in the scheme, were

    privy to and participated in the creation, development and publication of the Greystone EB-5

    Partnership’s sales, marketing, projections and/or reports; and (iii) Defendants were aware of

    Greystone EB-5 Partnership’s dissemination of information to the potential foreign investors,

    which Defendants knew or recklessly disregarded was materially false and misleading.

            566.    Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5 had

    actual knowledge of the misrepresentations and omissions of material facts set forth herein, or

    acted with severely reckless disregard for the truth, in that each failed to ascertain and disclose

    such material facts, even though such facts were available to them. Defendants’ material

    misrepresentations and/or omissions were done knowingly or with deliberate recklessness and for

    the purpose and effect of concealing information regarding Greystone EB-5 Partnership’s true

    status as a façade and scheme for fraud and theft.

            567.    As a result of the dissemination of materially false and misleading information and

    failure to disclose material facts, as set forth herein, Greystone EB-5 Partnership appeared to be a

    legitimate investment opportunity for foreigners seeking a path to United States residency through

    an EB-5 visa. Unbeknownst to the Plaintiffs, the Greystone EB-5 Partnership was merely a façade


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    for a criminal scheme, Plaintiffs invested their money in to Greystone EB-5 Partnership and

    suffered damages.

            568.     At the time of Defendants, Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA

    and Greystone EB-5’s misrepresentations and omissions, Plaintiffs were unaware of the falsity of

    the statements and believed them to be true. Had Plaintiffs known of Defendants, Walsh, Walsh

    Jr., Muhl, SARC, USREDA and Greystone EB-5’s fraudulent practices, Plaintiffs would not have

    purchased or otherwise acquired their securities in the Greystone EB-5 Partnership.

            569.     By virtue of the foregoing, Defendants Walsh, Walsh Jr., Muhl, SARC, USREDA

    and Greystone EB-5 have each violated Section 10(b) of the Exchange Act and Rule 10b-5

    promulgated therein.

            570.     As a direct and proximate result of Defendants, Walsh, Walsh Jr., Muhl, SARC,

    USREDA and Greystone EB-5’s wrongful conduct, Plaintiffs suffered damages in connection with

    their respective purchases of limited partnership interests in the Greystone EB-5 Partnership.

           WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

    Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5 for damages, pre-

    judgment and post-judgment interest, litigation costs, and for any such other and further relief as

    this Court deems just and proper.

                   Count 40 – Violations of Section 20(a) of the Securities Exchange Act
                   (Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA, Greystone EB-5)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.



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           571.    Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5 acted

    as controlling persons of Greystone EB-5 Partnership within the meaning of Section 20(a) of the

    Exchange Act as alleged herein.

           572.    By virtue of their high positions within the Greystone EB-5 Partnership and/or high

    level positions within the scheme to sell foreign investors limited partnership interests in Greystone

    EB-5 Partnership, participation in and/or awareness of Greystone EB-5 Partnership’s operations,

    and/or intimate knowledge of Greystone EB-5 Partnership’s fraudulent practices and Greystone

    EB-5 Partnership’s actual status and true prospects, Defendants, Walsh, Walsh Jr., Muhl, SARC,

    USREDA and Greystone EB-5 had the power to influence and control, and did influence and

    control, directly or indirectly, the decision making of Greystone EB-5 Partnership, including the

    content and dissemination of the various statements which Plaintiffs contend were false and

    misleading.

           573.    Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5 were

    provided with, or had unlimited access to, copies of Greystone EB-5 Partnership’s reports, sales

    materials, brochures, public filings, and other statements alleged by Plaintiffs to be misleading

    prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

    of the statements or cause the statements to be corrected.

           574.    Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5 also

    had direct involvement in the day-to-day operations of the Greystone EB-5 Partnership and,

    therefore, are presumed to have had the power to control or influence the particular transactions

    giving rise to the securities violations as alleged herein and exercised the same.

           575.    As explained above, Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and

    Greystone EB-5, each violated Section 10(b) and Rule 10b-5 by their acts and omissions. By virtue


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    of Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5’s controlling

    positions, they are liable pursuant to Section 20(a) of the Securities Exchange Act.

            576.    As a direct and proximate result of Defendants, Walsh, Walsh Jr., Muhl, SARC,

    USREDA and Greystone EB-5’s conduct, Plaintiffs suffered damages in connection with their

    purchases of the Greystone EB-5 Partnership securities.

            WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUI, LAI KING

    HUI, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

    Defendants, Walsh, Walsh Jr., Muhl, SARC, USREDA and Greystone EB-5 for damages, pre-

    judgment and post-judgment interest, litigation costs, and for any such other and further relief as

    this Court deems just and proper.

                            Count 41 – Civil Conspiracy Under Federal RICO
                                             (All Defendants)

           Plaintiffs reaffirms, re-alleges, and incorporates by reference paragraphs 1 through 230, as

    if fully set forth herein.

            577.    Defendants, are “persons” as defined by 18 U.S.C. § 1961(3).

            578.    Defendants, have been members of and constitute an “association-in-fact

    enterprise” within the meaning of 18 U.S.C. § 1961(4), and will be referred to herein collectively

    as the “RICO Enterprise”.

            579.    Defendants violated 18 U.S.C. 1962(c) by participating in or conducting the affairs

    of the RICO Enterprise, whose activities affect interstate commerce, through a pattern of

    racketeering.

            580.    Plaintiffs are persons injured in their business or property as a result of Defendants’

    violation of RICO as defined by 18 U.S.C. § 1964(c).

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           581.      The RICO Enterprise was engaged in or affects interstate commerce.

           582.      Defendants’ scheme has occurred throughout a series of predicate acts over the

    course of a number of years sufficient to rise to the level of a RICO enterprise.

           583.      Defendants’ scheme is the legal and proximate cause of Plaintiffs’ damages.

           584.      Defendants, who are all members of the RICO Enterprise are, and have been, joined

    in a common purpose, have relationships with and among each other, and have associated through

    time sufficient to permit those associated to pursue the enterprise's purpose. Defendants needed

    and depended upon the participation of each other to accomplish their common purpose, namely,

    stealing Plaintiffs’ investments in the Greystone EB-5 Partnership and by keeping all of Plaintiffs’

    investments for themselves rather than placing the money in escrow for the Greystone EB-5

    Project.

           585.      Defendants, have each willingly or knowingly conducted and/or participated,

    directly or indirectly, in the conduct of the RICO Enterprise's affairs through a “pattern of

    racketeering activity” over a substantial period of time, 2014 through 2016, as defined by 18

    U.S.C. §§ 1961(1)and 1961(5) and consisting of:

                  a. Engaging in a scheme to defraud third parties and using the United States mail to

                     execute this scheme in violation of 18 U.S.C. § 1341 as alleged herein; and

                  b. Knowingly engaging in a monetary transaction in criminally derived property that

                     is of a value greater than $10,000.00 and is derived from specified unlawful activity

                     in violation of 18 U.S.C. § 1957, by selling obtaining funds from Plaintiffs and not

                     investing such funds into a legitimate EB-5 project, that was criminally derived as

                     a result of unlawful activity outlined in above in paragraphs 148-167.




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                   These acts of racketeering constitute a pattern of racketeering as defined by 18

    U.S.C. § 1961(5).

                   These predicate acts were related to one another to serve Defendants' common

    purpose, namely, stealing Plaintiffs' investments in the Greystone EB-5 Partnership and by

    retaining Plaintiffs' funds for Defendants own use and benefit without Plaintiffs' knowledge or

    authority and keeping the proceeds for themselves.

                   As a direct and proximate result of Defendants' actions and misconduct, Plaintiffs

    suffered, and continue to suffer injuries, including but not limited to the loss of Plaintiff's funds in

    the United States intended for investment in the Greystone EB-5 Partnership; loss of Plaintiff's

    equity and meaningful ownership within the Greystone EB-5 Partnership ; and the loss of Plaintiff

    as limited partners to enforce Greystone EB-5 Partnership's loan to Greystone Hotel Miami via

    liens against the Greystone Properties, and have further incurred significant expenses in bringing

    forth litigation to address such actions and misconduct, and are therefore entitled to recover

    monetary and equitable damages in connection with Defendants' actions, as well as attorneys' fees

    and costs pursuant to 18 U.S.C. § 1964.

            WHEREFORE, Plaintiffs YUANXIAO FENG, KIU CHUN SAXON HUT, LAI KING

    HUT, JING KUANG, CHUEN PING NG, MINYANG TIAN, HONGSEN ZHANG, and YAN

    ZHANG, respectfully request that the Court enter judgment in favor of Plaintiffs and against

    Defendants for damages, pre-judgment and post-judgment interest, litigation costs, and for any

    such other and further relief as this Court deems just and proper.

                                         JURY TRIAL REQUEST

                   Plaintiffs respectfully requests a jury trial on all issues so triable.


    Respectfully submitted r2day of Dey                       , 2019.

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